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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

  UNITED STATES OF AMERICA                                                             PLAINTIFF

  v.                                   Case No. 4:09-CR-043 SPF

  LINDSEY KENT SPRINGER,
  OSCAR AMOS STILLEY                                                               DEFENDANTS


              TIMELINE OF EVENTS (EXHIBIT “4" TO 3582(c) MOTION)



   Date       Place         Identity of speaker; Statement or representation
   03-18-09   Dkt. 7, pg.   By Springer: Springer submits gifts are income but that they are not
              10            reportable or calculated within a person’s “gross income.” This has
                            never been in dispute.
   04-16-09   Dkt. 42,      Government: (Gov) It is not criminal to earn income.
              pg. 3
              Id. Pg. 8     Government: Bills of particulars are not favored because the
                            government is required to strictly adhere to the answers.
                            Defendants have been very adequately informed of the nature of the
                            charges against them so they can prepare an intelligent defense, and
                            also guard against any subsequent prosecution for the same acts.
   05-29-09   Dkt. 71,      Government: Thus, Defendant Stilley cannot assert that the
              pg. 8         indictment is insufficient as to him because the indictment does not
                            allege he attempted to evade his own taxes. The indictment clearly
                            alleges that Defendant Stilley attempted to evade Defendant
                            Springer’s federal income taxes.
   06-15-09   Dkt. 80,      Government: Also, Special Agent Shern included in the affidavit
              pg. 5-6       Defendant Springer’s self-serving statement to Patterson “that he
                            [Defendant Springer] did not charge fees, but took money for his
                            [Page 6] ministry.” Docket #75-20 at 4. Thus, contrary to Defendant
                            Springer’s implications to the contrary, Defendant Springer’s theory
                            that the payments were gifts was included in the affidavit presented
                            to the Magistrate Judge who issued the search warrant.




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   06-15-09   Dkt. 81,     Springer: “...it is not whether Springer received “income” as
              pg. 15       the United States has worn that word out, the question is
                           whether Springer received “gross income” ...”
   06-17-09   Dkt. 86      Government: Motion to strike Docket # 81 because, as a reply, the
                           page limit in the civil rules is 10 pages, and Springer’s reply has 28
                           pages.
   06-18-09   Dkt. 87      Court Order denying Docket #86, motion to strike, and directing the
                           government to file a sur-reply.
   06-25-09   Dkt. 93,     Government: As the Grand Jury charged in the Indictment,
              pg. 1-2      Defendant [referring to Springer] provided legal services to numerous
                           clients during the years 2000 through 2005. Defendant’s clients paid
                           money to Defendant in payment for his services; at Defendant’s
                           instruction the clients called these payments gifts.
              Id. Pg. 9    An indictment should be tested solely on the basis of the allegations
                           made on its face, and such allegations are to be taken as true.
              Id. Pg. 12   Government: [This] prosecution was brought as a result of evidence
                           that Defendant Springer earned income during the years in
                           question for legal services or paralegal services, and failed to file
                           tax returns or pay taxes on that income, and not because of any
                           alleged anti-tax statements he may have made individually, or
                           through Bondage Breakers Ministries.
                           (Emphases added)
   07-01-09   Dkt. 97      Government: As noted by the Court in the hearing held April 22,
              pg. 3        2009, the Indictment “is impressively informative.”
              Also pg. 3   Government: The Defendants are charged in this case with
                           conspiring to defraud the Internal Revenue Service and with tax
                           evasion with respect to Defendant Springer’s federal income taxes
                           for the years 2000, 2003 and 2005. (Emphasis added)
   07-30-09   Dkt. 105,    Springer: These particulars are needed so that Lindsey Kent
              pg. 9        Springer can understand the meaning of “required by law,”
                           to also make certain that both the jury is instructed
                           correctly and that the claims presented to the Grand Jury
                           remain the same claims the Government is now
                           demanding a jury trial to determine. (Emphasis added)
   08-03-09   Dkt. 107,    Government: Proposed jury instruction as to Count One of the
              pg. 28-31    indictment. It includes nothing but allegations related to the
                           transactions alleged to constitute tax evasion in Counts 3 and 4.

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   08-03-09   Dkt. 107,    Government: To ‘‘evade and defeat’’ the payment of tax means to
              pg. 37       escape paying a tax due other than by lawful avoidance. The
                           indictment alleges a specific amount of tax due for each calendar
                           year charged. The proof, however, need not show the exact amount
                           of the additional tax due. The government is required only to prove,
                           beyond a reasonable doubt, that the additional tax due was
                           substantial.
                           (Emphasis added)(The indictment does not allege a specific amount,
                           contrary to the government’s claim.)
   08-03-09   Dkt. 107,    Government proposed jury instructions as to Counts 3 and 4: [after
              pg. 38       setting forth certain alleged means of concealment] “... and,
                           otherwise concealing and attempting to conceal from all proper
                           officers of the United States of America Defendant Springer’s true
                           and correct income.” (Emphases added)
   08-06-09   Dkt. 116,    Government opposition to particulars: Defendant Springer’s
              pg. 3        persistent refusal to acknowledge that the law requires individuals
                           who earn income to file federal income tax returns and pay federal
                           income taxes does not warrant a bill of particulars. (Emphasis added)


   08-12-09   Dkt. 119,    Government: The theory of liability in this case is simple; Defendant
              pg. 2        Springer earned his livelihood assisting individuals with tax matters.
                           (Emphasis added)
   08-13-09   Dkt. 126,    Government: With regard to Defendant Springer, Revenue Agent
              pg. 5        Miller is expected to testify, in sum and substance, as follows: first,
                           [concerning Defendant Springer’s non-filing]; second, the amount of
                           income earned by Defendant Springer during the prosecution years
                           and otherwise; and third, regarding the tax consequences of
                           Defendant Springer’s conduct as described in the Indictment.
                           (Emphases added)
   08-19-09   Dkt. 130,    Government: This is an email exchange between Stilley and
              pg. 31 (an   government lawyers, attempting to nail down the government’s
              exhibit)     theories. Mr. Snoke doesn’t want to be dragged into “minutia.”
                           Denounces the defendants’ “bogus professed inability to understand
                           the charges...” The actual numbers for the years of the indictment are
                           set forth on the following page.
              Id. Ex. 4    Government: Memorandum of interview by Brian Shern. Amounts
                           claimed given by tax year; figures could change, but not materially.




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   09-10-09   Dkt. 134      Government: 404(b) notice of prior bad acts/impeachment material.
                            Included is both Springer and Stilley’s involvement with prior tax
                            trials and investigations, to prove knowledge of legal duty.
                            Government claims Defendants “will likely attempt to implicate the
                            Government witnesses as fabricating evidence...”
   09-21-09   Dkt. 137,     Government: In an attempt to evade his federal income tax
              pg. 5         obligations, Defendant Springer conspired with Defendant Stilley and
                            others to hide the fact that he received income.
              Id. Pg. 12-   Government: Defendant Springer has indicated he may seek to
              13            introduce evidence of money he received that is not alleged in the
                            indictment to be taxable income as evidence that people gave
                            Defendant Springer money. This evidence would be irrelevant; the
                            Government will prove Defendant Springer earned income through
                            the specific item method of proof. Through documentary evidence
                            and witness testimony, the Government will establish that Defendant
                            Springer received payments from income from individuals for
                            whom he provided legal assistance. (Sic) If this were an indirect
                            method of proof case (i.e., bank deposits, net worth, cash
                            expenditures, etc.), Defendant Springer’s possible non-taxable
                            sources of income would be admissible and relevant to rebut the
                            inference that funds attributed to Defendant Springer came from
                            taxable sources. However, in a specific items case, the Government
                            needn’t negate nontaxable sources of income. [citation omitted] As
                            indicated previously, irrelevant evidence is inadmissible and
                            therefore should be excluded from trial. Fed. R. Evid. 103(c) and
                            402. (Emphases added)
   09-21-09   Dkt. 138,     Government: Tax evasion prosecutions are not collection cases
              pg. 18        and it is not necessary to charge or prove the exact amount of
                            the tax that is due and owing. [citations omitted] It is enough to
                            prove that the defendant attempted to evade the payment of a
                            substantial income tax, even though the actual amount of the tax
                            that he owed may be greater than or less than the amount
                            charged in the criminal case. (Emphasis added)




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              Id. Pg. 25   ... This method of receiving income defeated normal IRS
                           investigative methods, and was contrary to normal business
                           practices....

                           All of these actions avoided creating the usual records of financial
                           transactions, concealed Defendant Springer’s income, and defeated
                           normal IRS investigative methods. (Emphases added)
   09-21-09   Dkt. 139     Government summary of the indictment: In Count One, the
              Pg. 1        Indictment charges that from the year 2000 to January 15, 2009,
                           Defendants Springer and Stilley conspired to defraud the United
                           States by working together to impede and impair the ability of
                           the Internal Revenue Service to ascertain, [page 2] compute,
                           assess, and collect the federal income taxes owed by Defendant
                           Springer. The Indictment charges that Defendant Springer
                           conspired with Defendant Stilley and others to hide the fact that
                           Defendant Springer received income. The Indictment charges
                           that Defendant Springer earned taxable income and utilized
                           various means to hide this fact.
              Pg. 3        Defendants Springer and Stilley are charged in Counts
                           Three and Four with attempting to evade Defendant Springer’s
                           income taxes for the years 2003 and 2005. Counts Two, Three
                           and Four each allege a violation of Title 26, United States Code,
                           Section 7201. Defendant Stilley is charged using the aiding and
                           abetting statue, (sic) Title 18, United States Code, Section 2.
                           (Emphases added)
   09-25-09   Dkt. 162,    Government: (editor’s summarization) Requests permission to take
              pg. 2        deposition of Ms. Wiggins in California, in order to prove 5 checks
                           to Lindsey Springer, totaling $65,000, claimed to be compensation
                           for Springer’s assistance in recovering money from a third party.
   10-05-09   Dkt. 173     Government: As charged in the Indictment, it was part of the
              pg. 4        conspiracy that Defendant Stilley knowingly misrepresented the
                           source and nature of Defendant Springer’s income to Internal
                           Revenue Service employees and the Grand Jury.
              Id. Pg. 10   ... the prosecutor “may prosecute with earnestness and vigor - indeed,
                           he should do so. But while he may strike hard blows, he is not at
                           liberty to strike foul ones.”




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              Id. Pg. 11    Defendants’ conclusory allegation that Revenue Agent Miller “would
                            not be capable of giving an objective legal opinion regarding any
                            treatment of any money tendered to Springer by any witnesses
                            presented at trial including the medical association Dr. Roberts
                            worked for” (doc. no. 150 at 1) is similarly unsupported.
              Id. Pg. 11,   The United States is gratified to learn that “[Defendant] Springer is
              footnote 4    certain Mr. Shern is more than capable of explaining to the jury how
                            he arrived at his tax calculations.” Doc. no. 150 at 2. However, the
                            United States intends to qualify Revenue Agent Miller as an expert
                            witness to perform tax calculations and summarize the evidence
                            presented at trial.
   10-08-09   Dkt. 185,     Government: The charges in the indictment are clear.
              pg. 2         (Emphasis added)
   10-13-09   Dkt. 192      The Court: The court was of the opinion when it entered its order on
                            October 8, and is still of the opinion, that if regulations are important
                            enough to the government’s case to be referred to at all, then they
                            should be cited specifically. It seems passing strange that, in this
                            criminal tax case, the government would see fit to refer generally to
                            operative regulations, but resist informing the defendant (and, by the
                            way, the court) as to what it refers to when it writes about “the
                            regulations thereunder.” For this reason, the court is unmoved by the
                            government’s arguments as to the niceties of bills of particulars. If
                            the device of a supplemental bill of particulars were not available to
                            provide the specificity called for by fundamental fairness, the court
                            would, in the blink of an eye, require the government to provide the
                            needed specificity in a supplement to the trial brief that made
                            reference to “the regulations thereunder” but gave no indication of
                            which regulations.
                            (Italics in original, remaining emphases added.)




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   10-21-09     TR 109 -    (The District Court laying down ground rules for the trial.)
   (Final       110         13 Obviously, both sides are going to have considerable
   Pretrial                 14 amounts of previous testimony available, previous
   Conf.)                   15 testimony in various contexts from witnesses called by
                            16 the government especially. We will have no impeachment
                            17 with off-the-cuff summaries of testimony. If you've got
                            18 a witness nailed dead to rights with in-court testimony
                            19 inconsistent with other testimony, then stick the witness
                            20 with the other testimony. I don't want to hear somebody
                            21 say, well, didn't you testify ta-da-da-da-da-da
                            22 without -- and then give me your off-the-cuff summary of
                            23 deposition testimony or grand jury testimony or whatever
                            24 it might be, because it's never as good as you remember,
                            25 and so we stick to the grand jury testimony or the other
                            109
                            1 transcript rather than your off-the-cuff -- impeachment
                            2 with your off-the-cuff summary.


   10-26-09     Dkt. 212,   Government: Defendant Stilley’s hand-picked examples do not
   (first day   pg. 4       support his contention that Ms. Wiggins is an incompetent witness to
   of trial)                testify to the matters to which she testified, including the fact that she
                            caused the issuance of these five checks to Defendant Springer for
                            services, and not as gifts or donations.
   10-27-09     TR 316      (Direct examination of Dr. Philip Roberts, by Mr. O’Reilly)
   (second                  10 Q. With respect to whether or not you were required to
   day of                   11 file taxes, what did Mr. Stilley tell you?
   trial)                   12 A. I don't remember him specifically saying that there
                            13 wasn't a requirement. He's quite gifted in
                            14 constitutional and legal issues. And to be -- quite
                            15 frankly, he overwhelmed me a lot. So I couldn't actually
                            16 tell you definitively that I recall him making that
                            17 statement ever.
   10-27-09     TR 316      (Direct examination of Dr. Philip Roberts, by Mr. O’Reilly)
                             18 Q. Okay. Did you ever have a conversation with
                            19 Mr. Springer about whether or not you had to file tax
                            20 returns?
                            21 A. Again, I cannot recall any specific conversation in
                            22 that regard.
                            23 Q. Is it possible that in the past you had a
                            24 recollection that -- or that reference to this grand jury
                            25 transcript might assist you in remembering?

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   10-27-09   TR 317    (Direct examination of Dr. Philip Roberts, by Mr. O’Reilly)
                        1 A. Anything could help me with remembering. It was a
                        2 long time ago.
                        3 Q. Yes. Yes, Dr. Roberts. Let me ask you, if you
                        4 could, to look at page 9 of that same grand jury
                        5 transcript and simply look, I believe, from lines 9
                        6 through 11 and read it to yourself, sir.
                        7 A. Page 9, lines 9 through 11?
                        8 Q. I believe so, sir, yes. Actually, line 6 through
                        9 12. I apologize. Have you read that, sir?
                        10 A. Yes, I have.
                        11 Q. Does that refresh your recollection?
                        12 A. It certainly reflects what I said then, yes.
                        13 Q. What did you say?
                        14 A. At what part of this?
                        15 Q. Actually, let me just ask, did Mr. Springer ever
                        16 tell you whether or not you had an obligation to pay
                        17 incomes taxes and file tax returns?
                        18 A. Yes. He stated that my conclusions were correct and
                        19 there was no requirement or liability to do those.
                        (Whereupon Mr. O’Reilly passes the witness)
   11-02-09   TR 1289   BRIAN MILLER - CROSS BY MR. SPRINGER
   (sixth               5 MR. O'REILLY: Objection as to what is the IRS's
   day of               6 position and you should use common sense.
   trial)               7 THE COURT: Don't go there. That will be
                        8 overruled.




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   11-02-09    Trial        [page 1295]
               transcript   BRIAN MILLER - CROSS BY MR. SPRINGER
               TR 1295-     25 A. But I think your -- the situation in this case is
               1296         Page 1296
               (All         1 different, because whether the payment can be for
               emphases     2 specific services that you provide in legal defense or
               in           3 legal research or whatever, and there could also be
               transcrip    4 another portion that is not for your specific services on
               ts are       5 behalf of the payor that may be payment to you for your
               added,       6 promotion of the ministry for you to carry on the work
               unless       7 that you're doing. In which -- and in either case, I
               otherwise    8 believe that would be gross income to you. So, you know,
               noted)       9 in a way, in a sense, whether it's a gift or compensation
                            10 for services is almost a moot point in this case.
                            11 Because I think in all the cases I've heard thus far, all
                            12 the payors have expected something from you, whether it
                            13 was personal legal services or work by you on behalf of
                            14 the ministry to promote that ministry.
                            15 Q. And that is the sole determination -- the sole
                            16 determining factor that you rely upon to move the column
                            17 -- the item out of the income column and into the gross
                            18 income column; is that correct?
                            19 A. I guess if you want to put it that way.
   11-03-09    Dkt. 228,    Government: The United States believes that the following phrasing
   (day 7 of   pg. 1        would be more consistent with the remainder of the Court’s proposed
   trial)                   instruction: Voluntary contributions, when received and retained by
                            the minister, may [page 2] be income to him. Payments made to a
                            minister as compensation for his services constitute income to him.
                            (Emphasis in original)
               Id. Pg. 2    In the fifth paragraph of the Court’s proposed instruction, the second
                            sentence currently reads: “Where the person transferring the money
                            did not act from any sense of generosity, but rather to secure goods,
                            services or some other such benefit for himself, there is no gift.” As
                            written, the instruction appears to limit income to payments directly
                            from the beneficiary of the services. The United States recommends
                            adding the phrase “or for another,” so that the sentence reads:
                            “Where the person transferring the money did not act from any sense
                            of generosity, but rather to secure goods, services or some other such
                            benefit for himself or for another, there is no gift.”
                            (Emphasis in original)



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   11-03-09   TR 1459-   PATRICK TURNER - DIRECT BY MR. O'REILLY
              1460       22 Q. Were you able to pay the money that was reported as
                         23 owed when you filed those tax returns?
                         24 A. There was a dispute on the amounts, so, no, I did
                         25 not pay the amounts on the tax returns.
                         1459
                         PATRICK TURNER - DIRECT BY MR. O'REILLY
                         1 Q. Okay. And then you said you wanted to finish your
                         2 answer on the other question?
                         3 A. Yes.
                         4 Q. Please do so.
   11-03-09   TR 1460    PATRICK TURNER - DIRECT BY MR. O'REILLY
                         17 A. I was going to criminal trials to understand what
                         18 happens to a person, what they go through. And on two
                         19 occasions, I was in the hallway and U.S. Attorney Don
                         20 Davis made this comment: "We left them with too much
                         21 money." And that scared me to my very core.
   11-03-09   TR 1461    PATRICK TURNER - DIRECT BY MR. O'REILLY
                         2 Q. Did any of those individuals -- well, let me ask it
                         3 this way: Did Mr. Springer come up with an idea for a
                         4 course of action to take?
                         5 A. No, sir. I did. I said that there has to be a
                         6 legal -- I had -- at that time, I had no tax liens or
                         7 anything like that on any of my assets. And I said --
                         8 Q. Were you concerned that you would have tax liens
                         9 placed on your assets?
                         10 A. Based on the comment from Don Davis, absolutely,
                         11 sir. Absolutely.


   11-03-09   TR 1462    4 Q. And this was before you entered into this agreement
                         5 with Mr. Springer; is that correct?
                         6 A. That's correct.
                         7 Q. You then agreed with Mr. Springer to do something
                         8 about this; is that correct?
                         9 A. Right. That's correct.
   11-03-09   TR 1464    13 Q. -- what did you do with the funds that you received?
                         14 A. I transferred them -- we wanted to make this as out
                         15 in the open as possible.
                         16 Q. Who is "we"?
                         17 A. Lindsey and I.


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   11-03-09   TR 1465   PATRICK TURNER - DIRECT BY MR. O'REILLY
                        6 Q. Let me ask this: Did sending it to Mr. Stilley, who
                        7 is an attorney, make it appear that the payment was, in
                        8 fact, an attorney retainer?
                        9 A. No, sir. Not to me, it didn't, because of the loan
                        10 contract.
                        11 Q. Was the loan contract filed in any public forum?
                        12 A. No, sir.
                        13 Q. If somebody simply looked at the transfer, what
                        14 would it appear to them?
                        15 A. I couldn't speculate, sir. I'm sorry.
   11-03-09   TR 1472   8 Q. When you learned that a quarter-million dollars that
                        9 you were relying on to hire an attorney had been spent on
                        10 a bus and a car, did you have any reaction?
                        11 A. Confusion. Disappointment. I called Mr. Springer.
                        12 We talked about it.
                        13 Q. With respect to this -- and as you sit here today,
                        14 you're saying that you loaned Mr. Springer $250,000; is
                        15 that your statement?
                        16 A. That is absolutely true.
   11-03-09   TR 1476   2 Q. With respect to Mr. Springer, do you think he's ever
                        3 going to repay you?
                        4 A. Yes, sir, I do.
                        5 Q. Because you trust him?
                        6 A. Yes, sir, I do.
   11-04-09   TR 1837   (Brian Shern Cross by Springer)
                        3 Q. So your position on whether or not Mr. Bolthouse's
                        4 wire to Mr. Stilley is an overt act in furtherance of the
                        5 conspiracy charge, you withdraw that position at this
                        6 point?
                        7 MR. O'REILLY: Your Honor, objection. It's the
                        8 grand jury that indicted Mr. Springer and Mr. Stilley,
                        9 not Special Agent Shern.
                        10 THE COURT: Sustained.




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   11-04-09   TR 1850   (Cross examination of Brian Shern by Oscar Stilley)
                        12 Q. Do you know what that agreement was? Scratch that.
                        13 Let me back up. Let me focus on Count 1. Do you know
                        14 what the agreement was?
                        15 A. The conspiracy charge?
                        16 Q. Yes.
                        17 A. Yes, I think you guys -- based on the evidence in
                        18 this investigation, I think you and Mr. Springer had an
                        19 agreement to help Mr. Springer hide his income.
   11-04-09   TR 1881   14 THE COURT: Well, you're essentially correct as
                        15 to what my comment was and is, but for the sake of
                        16 clarity, as far as the Court is concerned, any given item
                        17 of receipt for either you or Mr. Stilley, for that
                        18 matter, is either fish or fowl. It's either a gift or an
                        19 income. There are no issues in this case of allocation
                        20 between gift and income within any one item of receipt.
   11-05-09   TR 1998   (Government’s examination of Brian Miller)
   (Ninth               9 Q. (BY MR. SNOKE) Do you want to -- want to walk the
   day of               10 Court and the jury through this exhibit for the year 2000
   trial)               11 as to the income items that you've listed thereon?
                        12 A. Yes. Basically, two main parts of this exhibit. I
                        13 listened to the testimony of the witness and I reviewed
                        14 the exhibits and I had to make myself comfortable that
                        15 the purpose of the payment was, in fact, to compensate
                        16 Mr. Springer for work that he had done. If it -- if I
                        17 felt certain that it was income and it was paid in the
                        18 year 2000 to Mr. Springer, I put it on this exhibit. And
                        19 this is basically a summary of all the income amounts
                        20 paid to Mr. Springer during the year 2000.
   11-05-09   TR 1999   (continued direct examination of Brian Miller)
                        6 And then at the bottom, I added up all the checks,
                        7 all the payments. And in this case, $160,000 is the
                        8 amount of gross income that I attributed to Mr. Springer.
   11-05-09   TR 2006   (continued direct examination of Brian Miller)
                        15 A. For the year 2005, based on the testimony of the
                        16 Turners and the other witnesses, we determined that the
                        17 gross income for 2005 was $265,500.




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   11-05-09   TR 2008    (continued direct examination of Brian Miller)
                          10 Q. All right. And can you tell us why you included
                         11 that as income?
                         12 A. Initially, I felt like it might have been a loan,
                         13 based on the testimony of Mr. Turner, but then I heard
                         14 the testimony of other witnesses, saw some other
                         15 exhibits, that led me to believe in all likelihood the
                         16 $250,000 would never be repaid by Mr. Springer and that
                         17 Mr. Springer felt he had complete control over that money
                         18 for his own uses and would therefore be treated as income
                         19 to him.
   11-05-09   TR 2012    (continued direct examination of Brian Miller)
                          13 THE COURT: So the version of 683, then, that
                         14 has columns for 2000 through 2005 with gross income, AGI
                         15 taxable income tax, self-employment tax and additional
                         16 tax due and owing a bottom line of 175,245, then, is the
                         17 current version and the offered version of 683. Is that
                         18 right?
                         19 MR. SNOKE: Yes, Your Honor, that's correct.
                         20 THE COURT: Okay.
                         21 MR. SNOKE: What we had done is we eliminated
                         22 the individual years in those other exhibits and put it
                         23 all in one -- all five years -- six years, excuse me, in
                         24 one chart.
   11-05-09   TR 2014-   (continued direct examination of Brian Miller)
              2015        17 Q. (BY MR. SNOKE) Did you give Mr. Springer in this
                         18 calculation all the business expenses that he claimed in
                         19 his discussions with -- that Agent Sivils testified to
                         20 about his -- in his interview when he was shown receipts?
                         21 A. We gave him credit for every -- yes, every one that
                         22 he identified as business-related. Then, in fact, we
                         23 actually gave him some additionally that we thought had
                         24 any chance of being business-related, we went ahead and
                         25 gave him just to make sure that, you know, if we were to
                         2014
                         BRIAN MILLER - DIRECT BY MR. SNOKE
                         1 err, we wanted to err on the side of conservatism.




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   11-05-09   TR 2061   (Springer cross examination of Brian Miller)
                        25 Q. And did you ever hear him say that I rendered any
                        2061
                        BRIAN MILLER - CROSS BY MR. SPRINGER
                        1 service to him in exchange for $250,000?
                        2 A. No.
   11-05-09   TR 2062   (Springer cross examination of Brian Miller)
                         11 Q. All right. And are you aware that the government
                        12 offered two charts for the year 2005, one chart included
                        13 the $250,000 as gross income and the other chart left it
                        14 off completely?
                        15 A. I am aware of that.
                        16 Q. Are you the sole reason why the $250,000 chart was
                        17 used instead of the one that excluded it from the chart?
                        18 A. I prepared both charts.
                        19 Q. Why did you prepare the one that was without the
                        20 $250,000?
                        21 A. When I first heard the testimony of Mr. Turner and
                        22 saw the contract related -- or the contract between you
                        23 and Mr. Turner related to that 250,000, I initially felt
                        24 like that was a valid loan and that his testimony was
                        25 true and that the contract was legitimate.
   11-05-09   TR 2063   (Springer cross examination of Brian Miller)
                        4 A. Yes, I felt that way initially. Subsequent to that,
                        5 I changed my mind.
                        6 Q. So as you stand here today, if Mr. Turner was here,
                        7 you would tell him that I don't owe him $250,000; is that
                        8 true?
                        9 A. I would tell him that you owe him $250,000 but that
                        10 he will never get his money back.
                        11 Q. So did you also hear testimony that there was a lien
                        12 placed on the $167,000 RV?
                        13 A. I vaguely remember something about that, yes.
                        14 Q. So is your testimony here today that that lien is no
                        15 good on that RV?
                        16 A. I don't know. I'm not convinced that it is.




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   11-05-09   TR 2063     (Springer cross examination of Brian Miller)
              continued   17 Q. But you're not convinced that it isn't, correct?
                          18 A. I believe that it's not a valid lien.
                          19 Q. So you believe that he has no interest in a motor
                          20 home that was specifically purchased with money that came
                          21 from him?
                          22 A. I believe either one of two things, either that it's
                          23 not a valid lien or that he'll never call in the lien, I
                          24 guess.
   11-05-09   TR 2064     (Springer cross examination of Brian Miller)
                           2 A. I'm saying he'll want the money and I'm saying that
                          3 I think he would be entitled to the money, but as you
                          4 like to say, as I sit here today, I believe that he is a
                          5 big fan of yours and would never ask you for the money.
   11-05-09   TR 2092     5 Q. (BY MR. SPRINGER) Why did you give Lindsey Springer
                          6 a $24,900 depreciation on a motor home?
                          7 A. Because I believe you are in the business of getting
                          8 rid of the IRS and as a part of that business you used
                          9 that motor home in furtherance of that business, so
                          10 therefore I think you would be entitled to a deduction.
                          11 Q. You don't doubt that?
                          12 A. I do not doubt that.
   11-05-09   TR 2092     (Springer cross examination of Brian Miller)
                          19 A. Yes. I would demand that you show me the business
                          20 use. I think -- you know, there was a little bit of
                          21 testimony that suggested you may have used the motor home
                          22 some personally, but I think I allowed you 100 percent
                          23 business use on it. But if it was a civil audit, then I
                          24 would expect to see mileage logs and calendars to show me
                          25 where you went and why you went there.




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   11-05-09   TR 2096 -   BRIAN MILLER - CROSS BY MR. SPRINGER
              2097        24 Q. Thank you. Now, you're letting me write off $24,000
                          25 as a business -- as a depreciation on a bus because it
                          Page 2096
                          1 has got some business relationship, correct?
                          2 A. That's right.
                          3 Q. And you're telling this jury that all of these
                          4 checks that are given to me are for services -- legal
                          5 services rendered. Do you remember that?
                          6 A. That's right.
                          7 Q. Or to be rendered; isn't that true also?
                          8 A. Yes.
   11-05-09   TR 2104     11 Q. You just took all the checks and said because of
                          12 that testimony every check belongs in the gross income
                          13 column, right?
                          14 A. If the witness said "this money I paid Lindsey to
                          15 work on my case or represent me," then I put it in there.
                          16 Q. Thank you.
                          17 A. Or by "put it in there," I mean treated it as
                          18 income.
   11-05-09   TR 2106-    BRIAN MILLER - CROSS BY MR. SPRINGER
              2107        24 A. If I believed that $2,000 was stolen from you, I
                          25 would have given you credit for a $2,000 casualty loss.
                          Page 2106
                          1 But in your case, the standard deduction was more than
                          2 that anyway, so, unfortunately, you would not be entitled
                          3 to a deduction for that.
                          4 Q. But that's only if you include the RV -- the loan
                          5 from Mr. Turner as gross income, correct?
                          6 A. What? If you don't include the RV from Mr. Turner,
                          7 then I don't believe there would have been any tax
                          8 liability anyway.




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   11-05-09   TR 2108   BRIAN MILLER - CROSS BY MR. SPRINGER
                        6 Q. So you automatically just put that over in his
                        7 column because of what you think I did, correct?
                        8 A. No, if I put it in income, it's because the witness
                        9 said it belonged in income and it was for work that you
                        10 did for them. That's the only scenario under which I
                        11 would put it in income is if the witness clearly said, "I
                        12 paid this money to Mr. Springer because he did work for
                        13 me, performed services for me, tried to keep me out of
                        14 jail," whatever it was.
   11-05-09   TR 2122   BRIAN MILLER - CROSS BY MR. STILLEY
                        19 Q. The point I'm driving at is that Oscar Stilley did
                        20 not have the legal right to misappropriate someone else's
                        21 funds, whether it was Mr. Springer's or Mr. Patterson's,
                        22 correct?
                        23 A. Absolutely not, right.
   11-05-09   TR 2127   BRIAN MILLER - CROSS BY MR. STILLEY
                        10 Q. And didn't -- I heard you asked by Mr. Springer if
                        11 you could name any particular person who was impaired in
                        12 their activities because of what Oscar Stilley or Lindsey
                        13 Springer did, and I didn't hear any names. Have you
                        14 thought of any names?
                        15 A. No, I have not.




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   11-05-09   TR 2139    (BRIAN MILLER REDIRECT BY MR. SNOKE)
                         4 Q. This was all in 2005?
                         5 A. Yes. The thing that -- I guess the thing that put
                         6 me over the edge, if you will, was the fact I had never
                         7 really thought that Mr. Springer would simply take all
                         8 that money from Mr. Turner and not pay it back until I
                         9 heard the testimony of Ms. Hawkins, who stated that in
                         10 addition to Mr. Springer asking for what I considered to
                         11 be a very large amount of money in a very short amount of
                         12 time, the testimony that, you know, we had a very
                         13 distraught woman who was overcome with trying to get her
                         14 husband out of prison, to have Mr. Springer expect a
                         15 payment of $500,000 to carry on the appeal was so
                         16 egregious to me that I felt like if he would take
                         17 advantage of her -- and I felt like that was a huge or
                         18 egregious taking advantage of had she paid that. And
                         19 based on that, I felt if he would do that to
                         20 Mrs. Hawkins, then it was very likely that he would do
                         21 the same thing to Mr. Turner.
   11-05-09   TR 2143    (Brian Miller re-direct by Mr. Snoke)
                         14 Q. And then you were asked about any comments
                         15 Mrs. Patterson said. Do you recall any of her testimony
                         16 regarding that transaction?
                         17 A. I don't remember specifically, no. I simply
                         18 remember that if the witnesses said it was income, I
                         19 would have put it in income. But I would not have put it
                         20 there had it not belonged there.
   11-05-09   TR 2147    The government rests its case.
   11-05-09   TR 2148-   (Colloquy at the bench, out of the jury’s hearing)
              2149       24 THE COURT: Okay. We'll see what we can do by
                         25 way of making progress until five o'clock or thereabouts
                         Page 2148
                         1 and I will -- I will allow you to confer very briefly
                         2 with your standby counsel, but all you need to do is move
                         3 for judgment of acquittal, and we're not going to take
                         4 any appreciable amount of time for the motion, but if you
                         5 would like to confer very briefly with your standby
                         6 counsel, you may do so.




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   11-09-09   TR 2366   (Brian Shern, direct examination by Lindsey Springer, defense case)
   (Tenth                17 Q. And did you say that I told you that all funds that
   day of               18 I receive are gifts and donations and that I do not have
   trial)               19 any income and that I do not provide any services for
                        20 payment?
                        21 A. Yes.
   11-09-09   TR 2374   (BRIAN SHERN DIRECT BY MR. SPRINGER CONTINUED)
                        12 Are donations and gifts income to your understanding
                        13 at the time you and I had this conversation in 2005?
                        14 MR. O'REILLY: Objection. Mr. Shern is not an
                        15 expert on tax law.
                        16 THE COURT: Overruled.
                        17 THE WITNESS: No, I don't believe donations or
                        18 gifts, if they were donations or gifts, would be
                        19 considered income.
   11-09-09   TR 2376   (BRIAN SHERN DIRECT BY MR. SPRINGER CONTINUED)
                        17 Q. (BY MR. SPRINGER) How were you misled by my answers
                        18 on September 16, 2005?
                        19 A. How was I misled?
                        20 Q. Right.
                        21 A. I guess by you telling me that all that income was
                        22 -- I guess I wasn't necessarily misled, but I think you
                        23 -- your statements may be intended to mislead me.
   11-09-09   TR 2377   (BRIAN SHERN DIRECT BY MR. SPRINGER CONTINUED)
                        4 Q. Right. And -- okay. So you weren't -- you just
                        5 said you weren't misled, but you believe I was trying to
                        6 mislead you; is that what you just said?
                        7 A. Yes. I think the whole notion of Bondage Breakers
                        8 Ministry, I think as -- you characterize it as a ministry
                        9 and claim that all this money is donations and gifts,
                        10 when you know full well that you're just working like
                        11 everybody else and earning income for services.




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   11-09-09   TR 2390    BRIAN SHERN - REDIRECT BY MR. SPRINGER
                         3 Q. In Mr. Stilley's examination, he asked you if you
                         4 would concede that he had perhaps a good-faith belief in
                         5 what Mr. Springer was doing; do you recall that
                         6 question?
                         7 A. Yes.
                         8 Q. You indicated no?
                         9 A. Yes.
                         10 Q. Please tell the jury why you indicated no.
                         11 A. Because I think he's a lawyer and he understands
                         12 what his IOLTA account is to be used for and I think he
                         13 knowingly assisted Mr. Springer to hide Mr. Springer's
                         14 income, as well as Mr. Turner, to hide his income from
                         15 the Internal Revenue Service.
   11-09-09   TR 2417    OSCAR STILLEY - DIRECT BY MR. SPRINGER
                         22 Q. Do you know whether you have ever been investigated
                         23 by the IRS other than in this case specifically for
                         24 failure to file tax returns?
                         25 A. Until about just a few days ago, I had no knowledge
                         2417
                         1 of any such investigation. I came to -- I asked,
                         2 actually, Mr. O'Reilly and was informed that there was
                         3 apparently an investigation at the present time in the
                         4 Western District of Arkansas, but I have no knowledge
                         5 what it's about. That was the first I heard of it.
   11-10-09   TR 2461    (Colloquy before the Court)
   Eleventh              1 THE COURT: Well, we'll address that one step at
   day of                2 a time. That's new information to me. What I don't
   trial                 3 intend to do is get into the briar patch of relitigating
                         4 Arkansas disciplinary proceedings.
                         5 MR. O'REILLY: Your Honor, there was no
                         6 intention to do that by us.
                         7 THE COURT: That's precisely the point. There's
                         8 every intention to do that by Mr. Stilley. And he has
                         9 got at least some superficially plausible pegs to hang
                         10 his hat on in terms of taking up the time of this Court
                         11 and jury relitigating Arkansas Bar disciplinary
                         12 procedure. We're not going to do that.
                         13 MR. O'REILLY: Yes, Your Honor.
   11-16-09   Dkt. 245   Verdict forms, “yes or no” format, no findings of anything else.



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   12-01-09   Dkt. 254   Stilley: Motion for transcript at public expense.
   12-01-09   Dkt. 255   Stilley: Five page brief in support of transcript at public expense,
                         explaining the impossibility, as a practical matter, of getting due
                         process from a prison cell.
   12-07-09   Dkt. 257   Springer: Reply to response to Docket 224 and 232 (Stilley joinder).
                         This reply is 51 pages in length.
   12-07-09   Dkt. 258   Stilley: Reply to response to 224 & 232, 13 pages in length.
   12-08-09   Dkt. 259   Government: Motion to strike Docket 257 and 258 on grounds that
                         both were overlength.
   12-08-09   Dkt. 260   Springer motion for judgment of aquittal, 79 pages. Last page is
                         certificate of service.
   12-08-09   Dkt. 261   Stilley motion for judgment of acquittal or new trial, 19 pages gross
                         total, last page is certificate of service only.
   12-08-09   Dkt. 262   Springer motion for new trial, 16 pages total, in the format of a brief,
                         but without a separate brief.
   12-08-09   Dkt. 263   Stilley brief in support of Docket # 261, consisting of 14 pages, one
                         of which was certificate of service.
   12-09-09   Dkt. 264   Court order striking Docket items 257, 258, 260, 261, and 263. No
                         citation to any “authority” except LCvR7.2(c)
   12-10-09   Dkt. 265   Springer motion to vacate 264, order striking pleadings.
   12-11-09   Dkt. 266   Government opposition to 264, Springer’s motion to vacate. On
                         page 3 the government notes that Springer already twice moved for
                         judgment of acquittal. (As required by rule, at the end of the
                         government’s case and again at the close of evidence.) Zero citations
                         to case law.
   12-14-09   Dkt. 267   Stilley’s 6 page motion to reconsider order striking pleadings, and
                         reinstate all stricken pleadings.
   12-14-09   Dkt. 268   Stilley’s 10 page brief in support of motion 267.
   12-15-09   Dkt. 269   Government’s opposition to Stilley’s motion 267. Complains about
                         paucity of citations to authority in Stilley’s “motion,” but cites not a
                         single case in which the court interpreted LCvR7.2(c) as did the
                         District Court in this case.




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   12-28-09   Dkt. 270    Springer’s 26 page affidavit regarding bias of District Court Stephen
                          P. Friot.
   12-28-09   Dkt. 271    Springer’s motion to disqualify...
   12-28-09   Dkt. 272    Springer’s brief in support.
   12-28-09   Dkt. 273    Springer’s motion to strike Docket 259 and 266.
   12-28-09   Dkt. 274    Springer’s conditional reply to 266.
   01-07-10   Dkt. 276    Government’s opposition to Springer’s motion for new trial. At page
                          3 the government cites to Duberstein as follows:

                          Specifically, the trier of fact must be careful not to allow trial of the
                          issue whether the receipt of a specific payment is a gift to turn into a
                          trial of the tax liability, or of the propriety, as a matter of fiduciary or
                          corporate law, attaching to the conduct of someone else.
                          (Emphasis added by the government to show what Springer was
                          omitting.)
              Id. At      Nowhere does the Indictment allege that either Defendant willfully
              page 6      failed to file a Form 1040.
                          (Emphasis added) (I am not making this up - read it for yourself. The
                          government said this.)
              Id. At      Contrary to Defendant’s assertion, Count One was not a conspiracy
              page 7      to evade Defendant Springer’s taxes.
                          (The government then reproduces certain language from Count 1 of
                          the indictment, verbatim.)
              Id. At      ... there is no reason for Defendant Stilley to file a Form 1040 on
              page 8      behalf of Defendant Springer. The Indictment’s language referencing
                          Defendant Stilley’s failure to file Forms 1040 clearly and
                          unmistakably alleges conduct independent of Defendant Springer’s
                          income.
                          (Emphasis added)
   01-07-10   Dkt. 277,   Government: Law of the case quotation, reproduced here verbatim:
              pg. 13-14
                          The law of the case doctrine posits that when a court decides upon a
                          rule of law, that decision should continue to govern the same issues
                          in subsequent stages in the same case. Furthermore, when a rule of
                          law has been decided adversely to one or more codefendants, the law
                          of the case doctrine [page 14] precludes all other codefendants from
                          relitigating the legal issue.


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              Id. At pg.   As the Tenth Circuit stated in denying Defendant’s petition, “at the
              15           proper time, he may appeal his conviction and sentence.” Id. The
                           proper time is not yet at hand.
                           (Emphasis added)
   01-12-10   Dkt. 278     Order denying Stilley’s unopposed motion 12-01-09 [Dkt. 254] for
                           transcript at public expense on grounds of 1) no statutory authority
                           cited, 2) no specific, current info regarding indigency, 3) motion is
                           premature because judgment hasn’t been entered. With respect to the
                           2nd issue, the Court said:
                           The court has received [page 2] reasonably reliable information
                           indicating that Mr. Stilley has recently solicited funds in support
                           of his defense.
   01-21-10   Dkt. 288,    Springer reply to response to 262.
              pg. 22       For 2005, that theory is utterly absurd regarding how a loan becomes
                           gross income. Most certainly there is no quid pro quo on the loan.
                           (Emphasis added) (pagination generally refers to numbers at the
                           bottom of the page, which often start after tables of contents and
                           authorities.)
   01-22-10   Dkt. 290,    Court’s scheduling order. [Amended by Dkt. 291 for an April 21,
              pg. 2        2010 sentencing date.] Contains the following sentence:
                           All motions and briefs must comply with the page
                           limitations set forth in the local rules.
   01-28-10   Dkt. 293,    Court’s 26 page order on motions at 224, 232, 262, 265, 267, 270,
              pg. 1        271, 273, 285.
                           By a jury verdict returned on November 16, 2009, each of the
                           defendants was found guilty of tax-related crimes.
                           (Emphasis added)
              Id. At pg.   Contrary to Mr. Springer’s assertion, count one does not clearly and
              7            unmistakably charge that the income at issue was Mr. Springer’s
                           and not Mr. Stilley’s.




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             Id. At pg.   First, he [Springer] focuses on the introductory phrase of N.D. LCR
             14           1.2 -- (“Where appropriate in a criminal context”) -- to argue that this
                          criminal rule fails to give adequate notice that the page limitations set
                          forth in LCvR7.2 apply. LCvR7.2 is specifically identified in N.D.
                          LCR 1.2, by rule number and by subject matter as a rule that pertains
                          to “Briefs.” If Mr. Springer truly thought that the “where appropriate”
                          language created a question about the applicability of the page limits,
                          then, instead of unilaterally filing lengthy papers, he should have
                          asked the court about those page limitations. He did not.
                              Second, the violations in question are not slight ones. The non-
                          conforming papers greatly exceed the page limits.
             Id. At pg.   Fifth, another provision of the criminal rules, N.D. LCR 12.1(B),
             15           supports striking the filings. Importantly, this provision does not
                          depend upon incorporation by reference of any other rules. Nor is it
                          qualified by the “where appropriate language.” This provision, N.D.
                          LCR 12.1(B), is perfectly clear. It provides that: “All motions and
                          responses thereto must be accompanied by a concise brief citing all
                          authorities upon which the movant or respondent relies.” Mr.
                          Springer’s 51-page reply brief (doc. no. 257), and his 79-page motion
                          for judgment of acquittal (doc. no. 260), can hardly be characterized
                          as concise. The stricken filings violate this court rule.
             Id. At pg.   Despite all of the above, the court stops short of finding that the rule
             16           violation was intentional. It presumes, in fact, that it was not.
                          ****
                          A court is not required to allow a futile filing.
                          (Emphasis added)
             Id. At pg.   Some of what Mr. Stilley includes in his supporting brief can only be
             17           described as a rant.




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              Id. At pg.      Mr. Stilley argues that the deficient nature of N.D. LCR 1.2 is
              18-19        apparent because that rule purports to incorporate several civil court
                           rules that no longer exist. Those other rules, however, are not
                           material to the issues before the court.
                              Mr. Stilley argues that he had no notice that for purposes of the
                           page limitations, the court would construe his motion for judgment
                           for acquittal (doc. no. 261, which was 19 pages long, plus exhibits),
                           along with his brief in support of that motion (doc. no. 263, which
                           was 14 pages long), as one filing. Court rules cannot reject,
                           explicitly, every possible ruse a litigant might think up to get
                           around those rules. Here, Mr. Stilley’s motion and brief are both
                           clearly argumentative and it was appropriate to construe them
                           together. If the court did not have the discretion to do so, rules
                           regarding page limitations would be easily circumvented.
                           (Emphases added)
              Id. Pg. 18      The same findings that the court has made with respect to its
              cont.        reasons for denying Mr. Springer’s motion to vacate apply equally to
              through      Mr. Stilley’s motion to reconsider. Moreover, although Mr. Stilley
              19           appears pro se, he is, or was, an attorney and he clearly understands
                           the importance of complying with local court rules. With respect,
                           specifically, to Mr. Stilley’s stricken documents, the court finds that
                           the December order was appropriate and that no grounds have been
                           shown for vacating that order, for reinstating the stricken filings,
                           or for allowing additional time to submit conforming filings now.
                           After consideration of the content of each of the stricken filings, the
                           court finds that allowing additional time for Mr. Stilley to submit his
                           stricken motion for acquittal, his stricken supporting brief, and his
                           stricken reply brief, would be futile. Nothing argued in these
                           documents would change any results with [page 19] respect to Mr.
                           Stilley. Mr. Stilley’s remedy lies with a higher court, not with re-
                           stating his stricken arguments to the undersigned.
                              Mr. Stilley’s motion to reconsider the court’s December order and
                           to reinstate all stricken pleadings is DENIED.
                           (Emphases added)
   02-01-10   Dkt. 297     Stilley’s motion to strike all Friot orders.
   02-01-10   Dkt. 298     Stilley’s brief in support of 297.




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   02-08-10   Dkt. 306,    Springer motion for stay, alternatively for relief from rule requiring
              pg. 5        employment or 30 hours per week public service.
                           Springer at page 5, in a footnote, complains about the government
                           attacking his wife’s checking account and his own PayPal account 4
                           days after trial.
              Id. Pg. 17   Complains about 40 hours of public service, away from defending
                           liberty. [Gov. says it is actually 30, but this doesn’t include travel
                           time.]
   02-12-10   Dkt. 310,    Government: As Defendant Springer has been advised both by this
              pg. 2        Court and by the Tenth Circuit Court of Appeals, the remedy for the
                           issues raised herein and heretofore is through the appellate process.
              Id. Pg. 3,   ... as Defendant Springer knows, neither of the prosecutors assigned
              footnote 2   to this case had any role with respect to the levies issued against
                           Defendant Springer for delinquent taxes from the years 1992 through
                           1995. As Defendant Springer alleged in his opposition to these levies
                           in 08-cv-278TCK-PJC, the Internal Revenue Service issued the
                           levies (“On November 23, 2009, Agent Fred Rice levied Springer’s
                           Paypal account of $ 978.00 and levied Springer’s wife checking
                           account to the tune of $1400.00 on this same day at the direction of
                           Mr. Strong, Ms. Downs, and the IRS in general”).
              Id. Pg. 11   This was aptly demonstrated by at least one witness’ naive belief that
                           Defendant Springer had any intention of repaying the money
                           Defendants stole.
                           (Emphases added)
   02-22-10   Dkt. 312,    Court order regarding motions 280, 282, 284, 306, 309.
              pg. 4        Defendants’ remedy is an appeal, not a stay pending the Supreme
                           Court’s ruling on the petition for a writ of mandamus.
              Id. Pg. 5    Request for relief from 30 hour community service denied.
   02-23-10   Dkt. 313     Court order - notice of consideration of non-standard conditions of
                           supervised release.
   02-25-10   Dkt. 314,    Court order - This prosecution is for violation of tax statutes,
              pg. 3        not violation of a regulation, and the criminal statutes in question
                           are clear.
                           (Emphases added)




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   02-25-10   PSR         Page 22 of PSR
              Page 22     Says on the one hand, in paragraph 53, that
                          However, pursuant to the provisions of United States v. Franks,723 F.2d
                          1482 (10th Cir. 1983), restitution in tax cases shall not be ordered as a
                          condition of probation or supervised release when the amount of tax loss
                          has not been acknowledged, conclusively established in criminal
                          proceeding, or finally determine in a civil proceeding. Although the IRS has
                          estimated an approximate tax loss of $376,956.85, to date, the exact loss
                          has not been determined by any of the three methods previously listed.
                           Says on the other hand, in paragraph 52, that this amount of tax loss
                          can indeed be made a condition of supervised release. The version of
                          the PSR 4-8-10 has the same claims, but also adds in “restitution” for
                          the State of Arkansas.
   03-03-10   Gov.        Government objections to PSR.
              Obj. To     In addition, the jury verdict indicates that the jury found that
              PSR         Defendants Springer and Stilley stole money from Mr. Patrick
                          Turner. Had the jury found that Defendant Springer borrowed from
                          Mr. Turner, the jury would have acquitted Defendants of the tax
                          evasion count for 2005. Their return of a guilty verdict with respect
                          to that count, corroborated by the evidence at trial, proved that
                          Defendant Springer and Defendant Stilley, utilizing wire
                          communications, stole $250,000 from Mr.Turner during 2005.
   03-25-10   Dkt. 317    Court order vacating requirement of 30 hours per week work or
                          community service.
   04-04-10   Dkt. 322,   Springer Motion for continuance of sentencing. Springer ordered to
              pg. 3       move his family from his home, absent stay, by April 15, 2010.
              pg. 7       Government is seeking 238 months of prison time on Springer.
   04-05-10   Dkt. 324    Court order denying continuance of sentencing. Springer must make
                          choices about his time for litigation.




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   04-06-10   Dkt. 326     Stilley motion to continue sentencing. Complained bitterly about
                           theory switching, refusal to commit to any theory. Refused to lend
                           credibility to the proceedings by supplying a witness and exhibit list
                           under such conditions. Page 2 set forth the following numbers given
                           to me pre-trial.
                           00 $33,777
                           01 $ 500
                           02 0
                           03 $89,350
                           04 0
                           05 $33,463
                           06 0 this year and following
   04-07-10   Dkt. 328     Government response to 326.
              pg. 2        ... Finally, the United States proved beyond a reasonable doubt that
                           Defendant conspired to defraud the United States, and that
                           Defendant evaded the federal income tax liabilities of his
                           codefendant for the years 2003 and 2005.
              Id. Pg. 3,   The United States is perplexed by Defendant’s re ference to multiple
              footnote 1   versions of the indictment. Doc. no. 326 at 3. There was only one
                           indictment in this case.
              Id. Pg. 4    Defendant states that he “respectfully declines to lend any credence
                           or respectability to these proceedings by declaring a list of witnesses
                           without a PSR that meaningfully identifies the facts and legal
                           theories supporting the suggested Guideline Range.” Doc. no. 326 at
                           4. By this statement, Defendant demonstrates contempt for the
                           Court’s Scheduling Order.
   04-08-10   Dkt. 330     Stilley reply to 328. Complaints of theory switching, refusal to
                           commit or make findings. Failure to set forth facts required by
                           United States v. Dazey, 403 F.3d 1147, 1177 (10th Cir.
                           Okla. 2005).
   04-09-10   Dkt. 331     Court order denying 326 Stilley motion to continue sentencing.
                           Stilley has enough information.




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   04-09-10   Dkt. 332,   Government reply to Springer’s sentencing memorandum (321).
              pg. 6
                          As fully explained in the United States Sentencing Memorandum,
                          Defendant Springer’s conviction on Count 4, tax evasion with respect
                          to 2005, establishes that the trial jury found that Defendant
                          Springer had no intent to repay Mr. Turner when he induced Mr.
                          Turner to wire $250,000 to Defendant Stilley’s IOLTA account.
                          (Emphasis added)
   04-21-10   Sent. TR    13 And then with respect to Mr. Miller, his testimony will
              10          14 primarily be to summarize the net consequences of the
                          15 additional tax -- of the additional income items and then
                          16 multiply the result by 20 percent, because under the United
                          17 States Sentencing Guidelines, where a defendant does not file a
                          18 return and a better estimate is not readily calculable, that is
                          19 the basis for a tax harm in this case.
   04-21-10   Sent. TR    BRIAN SHERN - DIRECT BY MR. O'REILLY
              32          .... 1157 and 1158 are transcripts of the defendants'
                          23 testimony; I don't think we need to move those into evidence.
   04-21-10   Sent. TR    (Court speaking from the bench)
              35          ...... But even though
                          19 the Rules of Evidence don't apply, the rules of common sense do
                          20 apply, so the further we get out on that hearsay limb, the less
                          21 likely it is to have any impact on my evaluation of the matter,
                          22 even though it's admissible.
                          (A real gem of practical wisdom that the government would have
                          done well to accept.)
   04-21-10   Sent. TR    BRIAN SHERN - CROSS BY MR. SPRINGER
              49          17 Q. As you stand here today, did James Lake not file a tax
                          18 return for the year 2000 by April 15, 2001?
                          19 A. Did he not file?
                          20 Q. Did he or did he not?
                          21 A. I'm not for certain whether he did or didn't. I know
                          22 there was a -- the transcript of his account for 2000 shows a
                          23 restitution payment of -- and that is what we included in our
                          24 calculations, I believe.
                          25 Q. Restitution payment?
                          49




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   04-21-10   Sent. TR   BRIAN SHERN - CROSS BY MR. SPRINGER
              50         1 A. Yes.
                         2 Q. Which would be derived from what? Where would restitution
                         3 payment come from in the IRS records, if you know?
                         4 A. It would have been from his -- the tax violations that he
                         5 committed.
                         6 Q. Would it be from the tax returns that he filed as a
                         7 condition of his plea agreement?
                         8 A. More than likely, yes.
   04-21-10   Sent. TR   BRIAN SHERN - CROSS BY MR. SPRINGER
              52         1 THE COURT: Mr. Springer asked some questions of
                         2 Mr. Shern that -- from which I inferred, perhaps, that
                         3 Mr. Springer thinks that the government is including a tax loss
                         4 attributable to Mr. Lake in its tax loss calculations for
                         5 Mr. Springer, and my reading of your sentencing memorandum
                         6 indicates that, aside from the defendants themselves, the
                         7 government seeks to attribute tax losses to Mr. Springer
                         8 relating only to Patrick Turner and Eddy Patterson. And my
                         9 question was --
                         10 MR. O'REILLY: Actually, Your Honor, in the
                         11 government's exhibits, which is 1177, we did include the 1,000
                         12 -- the 176,000 that Mr. Springer is discussing as attributable
                         13 to him, because Mr. Lake, our theory, is being encouraged by
                         14 both Mr. Springer and Mr. Stilley to continue to not file a tax
                         15 return or pay taxes for the year 2000, so Mr. Springer is
                         16 correct in his understanding of the government's position.
                         17 THE COURT: Okay. Except that I've heard on cross
                         18 that maybe he may well have filed for 2000.
                         19 MR. O'REILLY: I'll try to rehabilitate the witness.
                         20 THE COURT: Okay. Well, proceed.
   04-21-10   Sent. TR   BRIAN SHERN - CROSS BY MR. SPRINGER
              80         4 Q. Okay. So how is it, then, that you attribute Mr. Turner
                         5 not filing a tax return or paying tax in '99, 2000, 2001, 2002
                         6 or 2003 if he didn't even know me?
                         7 A. I don't attribute him not filing a tax return to you, just
                         8 the money that he hid in Mr. Stilley's Interest on Lawyers
                         9 Trust Account was -- you assisted him in evading the payment of
                         10 those taxes that he already owed.




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   04-21-10   Sent. TR   BRIAN SHERN - CROSS BY MR. SPRINGER
              82         5 Q. Okay. And now you're saying that he actually was evading
                         6 the payment of his taxes by borrowing the money on the house
                         7 and then sending it for services?
                         8 A. I think he was under the impression that he was going to
                         9 send that money through Stilley's IOLTA account or put it into
                         10 Stilley's IOLTA account so it would make the appearance that it
                         11 looked like an attorney retainer and the IRS couldn't seize
                         12 that money that was owed to them, and then you spent the
                         13 money. So on one hand, he was hiding the money, but then you
                         14 took it and spent it, and so it's -- you assisted him in hiding
                         15 his income, as well as it's income to you because I think it
                         16 pretty much was set out in trial and the jury concluded that
                         17 that was income to you and I don't think anybody ever --
                         18 anybody ever thought you would pay it back.
   04-21-10   Sent. TR   8 THE COURT: Mr. Springer, the government's theory as
              83         9 to Mr. Turner, as I understand it, is not that the deposit into
                         10 the IOLTA account was evasion of taxes, per se, but that it was
                         11 -- had the effect of impairing the government's collection
                         12 ability, so on that basis the objection will be overruled -- I
                         13 mean, sustained. We'll go on to the next question.
   04-21-10   Sent. TR   23 THE COURT: As a general proposition, the question of
              84-85      24 whether the funds you received were for services rendered has
                         25 been resolved against you by the verdicts of the jury and
                         Page 84
                         BRIAN SHERN - CROSS BY MR. SPRINGER
                         1 you're bound by that. I'm bound by that.
                         2 If you want to address specific items as it relates to tax
                         3 loss determination, then we'll take that one step at a time.
                         4 But the overarching question of whether the funds that you
                         5 received over the years that were involved in this case were
                         6 received by you for services rendered has been conclusively
                         7 resolved against you by the jury verdict.




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   04-21-10   Sent. TR   6 Q. Okay. Do you remember the testimony of Mr. Burt,
              94         7 Mr. Turner, and Mr. Stumpo?
                         8 A. Yes.
                         9 Q. Relevant to the conference calls with IFC?
                         10 A. Yes.
                         11 Q. Do you remember what each one of them told the jury I told
                         12 everybody on that conference call to do?
                         13 A. I think some of them testified that you told them to file
                         14 their tax returns.
                         15 Q. And that IFC had misled them; do you remember that
                         16 testimony?
                         17 A. Yes.
                         18 Q. Did you ever interview anybody who attended the IFC
                         19 conference calls where I advocated to them stay their course,
                         20 violate the Internal Revenue laws, and continue to use the
                         21 trust that IFC had set up for them?
                         22 A. No.
   04-21-10   Sent. TR   8 BY MR. STILLEY:
              124        9 Q. Mr. Shern, you realize that the government has the burden
                         10 of proof in this proceeding to the preponderance of the
                         11 evidence, correct?
                         12 A. Yes.
                         13 Q. And that means that you have to have some credible
                         14 evidence to prove all your propositions, correct?
                         15 A. Yes.
   04-21-10   Sent. TR   22 Q. (BY MR. STILLEY) Do you know if there was more than one
              137-138    23 unlawful conspiracy involved? Did you see evidence of more
                         24 than one unlawful conspiracy?
                         25 A. I think the conspiracy was just to defraud the United
                         137
                         BRIAN SHERN - CROSS BY MR. STILLEY
                         1 States. I think there's just one.
   04-21-10   Sent. TR   BRIAN SHERN - CROSS BY MR. STILLEY
              138        8 THE COURT: Well, does -- let me ask this: Does the
                         9 government agree with -- in general, at least, with my comment
                         10 that I just made a minute ago about Guideline 1B1.1 and the
                         11 need for sentencing purposes to determine the scope of the
                         12 jointly-conducted criminal activity to the extent that we are
                         13 going to hold one defendant accountable for matters that
                         14 directly relate to the other defendant?
                         15 MR. O'REILLY: Absolutely, Your Honor.


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                         BRIAN SHERN - CROSS BY MR. STILLEY
                         7 Q. Was that a bad way to obtain money from Mr. Roberts -- or
                         8 Dr. Roberts?
                         9 A. I think the legal representation that you gave Mr. Roberts
                         10 was -- you knew was completely false and it wasn't going to be
                         11 effective, but yet you still put forward those defenses.
                         12 Q. Okay. So what you're saying, then, is that Oscar
                         13 Stilley's defense of Dr. Roberts was part of the conspiracy
                         14 too, correct?
                         15 A. Yes.
   04-21-10   Sent. TR   BRIAN SHERN - CROSS BY MR. STILLEY
              143        14 Q. So -- but surely you don't think commentary ten years
                         15 previously would be part of the conspiracy, the single
                         16 conspiracy, do you?
                         17 A. I think if you -- if you knew -- offered him advice in
                         18 1990 and you -- he relied on your advice and then he went to
                         19 trial in 2000 and you represented that same defense to him
                         20 through the help of Mr. Springer, yes.
                         21 Q. So you think that words uttered by Oscar Stilley ten
                         22 years -- or approximately ten years before he met Lindsey
                         23 Springer are, nevertheless, part of a conspiracy with Lindsey
                         24 Springer?
                         25 A. Not with Lindsey Springer, but -- I don't know.
   04-21-10   Sent. TR   BRIAN SHERN - CROSS BY MR. STILLEY
              144        18 Q. So an act in 1990 couldn't possibly have been an overt act
                         19 in support of the conspiracy, correct?
                         20 A. Correct.




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   04-21-10   Sent. TR   BRIAN SHERN - CROSS BY MR. STILLEY
              146-147    23 Q. So it would have had to be an existing conspiracy that
                         24 Oscar Stilley joined, correct?
                         25 A. Yes.
                         146
                         1 Q. Okay. Now, based on your research, what did you determine
                         2 would be the scope of the specific agreement that Oscar Stilley
                         3 joined?
                         4 A. What do you mean by when you say "scope"?
                         5 Q. What did Oscar Stilley agree to do that was wrong, that
                         6 was illegal?
                         7 A. To come in and help Lindsey Springer bilk money from all
                         8 these clients and to hide it.
                         9 Q. Anything else?
                         10 A. No.
   04-21-10   Sent. TR   BRIAN SHERN - CROSS BY MR. STILLEY
              150        15 THE WITNESS: No, I didn't give you the amounts that
                         16 you paid or that you paid to have Mr. Lewis do work for you,
                         17 because, yes, we could have identified various expenditures
                         18 that you had made that we -- that appeared to be business
                         19 expenses, but it still wouldn't have got us at an accurate
                         20 number, and so we used the 20 percent method, because a more
                         21 accurate way of determining it was -- wasn't available.
                         22 Q. (BY MR. STILLEY) But it wasn't available, really, because
                         23 you didn't try, correct?
                         24 A. No, I don't believe that is true. ...
   04-21-10   Sent. TR   Sentencing Transcript 149-153 contain questions and answers to
              149-153    demonstrate that the government didn’t attempt to remove amounts
                         held in Stilley’s IOLTA account and disbursed for tax payments and
                         other payments on behalf of the client.




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   04-21-10   Sent. TR   BRIAN SHERN - CROSS BY MR. STILLEY
              156        1 MR. STILLEY: My point is he is trying to attribute
                         2 monies -- losses to the defendants on the grounds of the
                         3 subjective thoughts of a third person's mind. And as soon as I
                         4 get that information, I want to know if he has any information
                         5 that -- whereby that Oscar Stilley should have known subjective
                         6 information within such a person's mind.
                         7 THE COURT: Are you going to be getting down to some
                         8 specific instances to address?
                         9 MR. STILLEY: Well, I want -- I think I can get him
                         10 to admit that he doesn't have any such evidence.
                         11 THE COURT: Sustained.
   04-21-10   Sent. TR   BRIAN SHERN - CROSS BY MR. STILLEY
              163, 164   17 Q. You don't have any reason to believe that Oscar would have
                         18 disregarded an instruction from Mr. Turner to pay the IRS with
                         19 money that Oscar Stilley held?
                         20 A. No.
                         21 Q. The rational reason for putting $250,000 in the account
                         22 would be to have enough money to prepare returns, get
                         23 everything paid and get everything all cleaned up, correct?
                         24 A. Are you asking me if that's why he transferred the
                         25 $250,000 to you?
                         163
                         1 Q. No, I'm asking you if that's the rational basis for
                         2 putting a substantial amount of money in Oscar Stilley's IOLTA
                         3 account.
                         4 MR. O'REILLY: Calls for speculation; objection.
                         5 THE COURT: Sustained.
   04-21-10   Sent. TR   BRIAN SHERN - CROSS BY MR. STILLEY
              164-165    24 Q. Can you tell this Court what Oscar Stilley should have
                         25 done differently so that he would not be charged with this
                         164
                         1 substantial sum of money as being relevant conduct?
                         2 A. Not helped Mr. Springer hide Mr. Turner's $250,000 by
                         3 going through your account. Just walk away from the
                         4 transaction.
   04-21-10   Sent. TR   BRIAN SHERN - CROSS BY MR. STILLEY (part of answer by Shern)
              165        22 So there's two separate crimes being committed here: One
                         23 is tax evasion on the $250,000 that Mr. Springer received as
                         24 income; and, two, is assisting Mr. Turner in evading the
                         25 payment of his taxes.


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   04-21-10   Sent. TR   BRIAN SHERN - CROSS BY MR. STILLEY
              167-168    24 Q. (BY MR. STILLEY) Okay. Let me ask a little more open-
                         25 ended question. Do you know why that Mr. Turner sent money --
                         167
                         1 sent $250,000 to Oscar Stilley's IOLTA account?
                         2 A. Do you want me to tell you what I think Mr. Turner thought
                         3 he was doing or what I think the money was?
                         4 Q. No, I want you to say what -- that you can testify about
                         5 based on either your personal knowledge or a basis of
                         6 information that is credible and reliable that you can
                         7 explain.
                         8 A. Well, considering the fact that as soon as the money went
                         9 into the account and it was spent, I think Mr. Turner just --
                         10 he may have thought he was transferring that money over, which
                         11 I think he testified to as a loan in case a criminal
                         12 investigation started investigating him and pursuing a criminal
                         13 prosecution of him, that he was going to hire you to perform
                         14 services for him. At the other end, I don't think Mr. Springer
                         15 had any intention of doing anything but spending that money on
                         16 himself.
   04-21-10   Sent. TR   BRIAN SHERN - CROSS BY MR. STILLEY
              169        18 Q. (BY MR. STILLEY) Do you have any information to suggest
                         19 that Oscar Stilley would -- should not have believed that the
                         20 money was a bona fide loan?
                         21 A. I think the actions that happened afterwards, where you
                         22 transferred the money immediately out to purchase a motor home,
                         23 suggest that you didn't think it was a loan.
   04-21-10   Sent. TR   BRIAN SHERN - CROSS BY MR. STILLEY
              172        17 Pass the witness.
                         18 THE COURT: Redirect?
                         19 MR. O'REILLY: No questions, Your Honor.
                         (Included to show that Mr. O’Reilly did not “rehabilitate” Mr. Shern
                         as he indicated at page 52 of the Sentencing Transcript.)
   04-21-10   Sent. TR   BRIAN MILLER - DIRECT BY MR. O'REILLY
              182        8 A. No, Dr. Roberts is not included in Mr. Springer's.
                         9 Q. Why not?
                         10 A. Based on the testimony of Mr. Shern, Mr. Springer was not
                         11 really involved at that time with Dr. Roberts.
                         12 Q. And is that also consistent with the testimony of
                         13 Dr. Roberts at trial?
                         14 A. Yes.

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   04-21-10   Sent. TR   BRIAN MILLER - DIRECT BY MR. O'REILLY
              186        11 Q. Similarly, did you do the same thing with the State of
                         12 Arkansas for Mr. Stilley?
                         13 A. Yes, we did.
                         14 Q. So with respect to both of these, it's an estimate of what
                         15 their state tax loss would be based upon the tax loss computed
                         16 for the federal tax loss?
   04-21-10   Sent. TR   BRIAN MILLER - DIRECT BY MR. O'REILLY
              188        13 Q. With respect to Mr. Stilley, we have no tax computations
                         14 predating the year 2000; is that correct?
                         15 A. That's correct.
                         16 Q. Do you know why?
                         17 A. To my knowledge, there was never any tax assessed for
                         18 Mr. Stilley in those prior years.
   04-21-10   Sent. TR   13 Q. Did you have any basis upon which to reach a more accurate
              189        14 calculation of Mr. Stilley's taxes?
                         15 A. No, I didn't.
                         (Included to prove that the government knows that the use of the 20%
                         of gross income figure is not allowable when the actual figures are
                         known and presented in court.)
   04-21-10   Sent. TR   14 A. Mr. Stilley had been assessed some additional tax by the
              190        15 IRS for the year 2002, I believe. When we reflected further on
                         16 that, we realized that we may be reporting or asked -- we may
                         17 be "double-dipping," I guess is the common way to put it, by
                         18 assessing or calculating the gross income here for 2002 and
                         19 then us using that prior year tax for 2002 also, so we backed
                         20 out the previously assessed tax for '02, requiring us to adjust
                         21 the exhibit a little bit.
   04-21-10   Sent. TR   23 Q. And do you remember what the services were that you said I
              207        24 provided Mr. Patterson?
                         25 A. I don't believe you specifically asked me if I was -- if I
                         206
                         BRIAN MILLER - CROSS BY MR. SPRINGER
                         1 thought it was for services rendered.
                         2 Q. You just determined that it was. I mean --
                         3 A. It was either for services rendered or it was in pursuit
                         4 of your ministry. And, to me, you know, it doesn't matter;
                         5 it's income either way.
                         6 Q. Right. I forgot about that with you.



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   04-22-10   Sent. TR   BRIAN MILLER - CONTINUED CROSS BY MR. SPRINGER
              223        (Discussing the claimed liability of James Lake)
                         3 Q. In other words, even if he had filed a tax return with the
                         4 176,000 on there, you would still be saying the 176,000 should
                         5 be a tax loss attributable to me?
                         6 A. Off the top of my head, yes.
                         7 Q. I'm trying to understand how you said that. You heard
                         8 Mr. Shern yesterday talk about some people I told to file tax
                         9 returns and other people I told I didn't file tax returns;
                         10 remember that?
                         11 A. Yes.
                         12 Q. If I told somebody to file a tax return and they filed a
                         13 tax return, should I be held liable for the amount of money
                         14 that they owe on that tax return?
                         15 A. Off the top of my head, I wouldn't think so.
   04-22-10   Sent. TR   BRIAN MILLER - CONTINUED CROSS BY MR. SPRINGER
              227        10 Q. Okay. Now, did you know that the reason why Mr. Turner
                         11 filed these tax returns for '99, 2000, 2002, and 2003 was
                         12 because Lindsey Springer -- do you remember that testimony?
                         13 A. I believe so.
                         14 Q. So here we have a person who actually files the tax return
                         15 because Lindsey Springer tells him to do it and you still found
                         16 a way to put it under third-party relevant tax loss. And just
                         17 a minute ago, didn't you just say if I told a person to file a
                         18 tax return, that that money would not be tax loss to Lindsey
                         19 Springer?
                         20 MR. O'REILLY: Objection. Argumentative, compound
                         21 question.
   04-22-10   Sent. TR   BRIAN MILLER - CONTINUED CROSS BY MR. SPRINGER
              228        12 THE COURT: So that's for '99, 2000, '02 and '03.
                         13 My understanding is -- and this -- I'm just going to ask
                         14 Mr. O'Reilly to either very briefly say I'm right or wrong. My
                         15 understanding is that the theory by which the government seeks
                         16 to attribute a loss relating to Mr. Turner to both defendants
                         17 is not so much as a result of any failure to file as it is a
                         18 result of what I will call the deposit of the money in the
                         19 IOLTA account with the effect that that had on the government's
                         20 ability to collect what was owed; is that correct?
                         21 MR. O'REILLY: Yes, Your Honor.




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   04-22-10   Sent. TR   BRIAN MILLER - CONTINUED CROSS BY MR. SPRINGER
              230        16 Q. But the object of the conspiracy wasn't to represent
                         17 somebody, right? That wasn't the object. It was to defraud
                         18 the IRS's lawful functions, right?
                         19 A. I guess so, to defraud the IRS and to make a lot of
                         20 money.
   04-22-10   Sent. TR   LINDSEY SPRINGER DIRECT EXAMINATION
              285        12 THE COURT: Let me make sure I understand a point you
                         13 made with respect to Mr. Turner earlier today. When was the RV
                         14 actually repossessed?
                         15 MR. SPRINGER: April 6th is when he and his son came
                         16 down and picked it up and drove it back to Michigan.
   04-22-10   Sent. TR   LINDSEY SPRINGER DIRECT EXAMINATION
              288        12 THE COURT: Perhaps you didn't understand my
                         13 question. My question was very simple: To what extent did
                         14 Mr. Stilley have knowledge of this letter or its contents at
                         15 the time that it was provided to Mr. Hawkins?
                         16 MR. SPRINGER: Fully aware of it.
                         (Question regarding Stilley’s knowledge of Exhibit 204 when sent.)
   04-22-10   Sent. TR   LINDSEY SPRINGER CROSS EXAMINATION BY MR. O’REILLY
              293        6 A. The ones I did concede to, I did concede based upon the
                         7 government's, you know, theory at trial. I would agree that
                         8 they are gross income.
                         9 Q. Why the caveat about the "government's theory at trial"?
                         10 A. Well, for purposes of appeal, I'm maintaining that it
                         11 should have been at least a quid pro quo proof or -- there's a
                         12 case at the Tenth Circuit that says that somebody could give
                         13 you a certain amount of money, you could do something for it
                         14 but not earn the whole amount of money, and then the rest of
                         15 the money could be considered to be a gift. And it was the
                         16 Church of Scientology case from the Tenth Circuit.
   04-22-10   Sent. TR   (MR. O’REILLY ARGUMENT REGARDING TAX LOSS)
              299        19 And under the bank deposits method of proof, this is --
                         20 when a better method is not available is, you know,a very
                         21 adequate, ample way of calculating the gross income of the
                         22 defendants from which 20 percent under the United States
                         23 Sentencing Guidelines is how you reach the estimated tax loss.




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   04-22-10   Sent. TR    (MR. O’REILLY ARGUMENT REGARDING TAX LOSS)
              300 - 301   23 I'll start with Dr. Roberts. And, again, as the Court
                          24 noted, Dr. Roberts is only attributed to Mr. Stilley. In the
                          25 early 1990s -- I believe the testimony at trial was, in 1990 ,
                          300
                          1 Dr. Roberts was one of a number of people who questioned the
                          2 validity of the tax laws. And he went to who he understood to
                          3 be an expert on the tax laws, a lawyer by the name of Mr. Oscar
                          4 Stilley, and asked him if he was correct. Hey, I don't want to
                          5 file a tax return.
                          6 And Mr. Stilley, instead of setting him straight,
                          7 Mr. Stilley told him, no, you don't -- you don't have to file.
                          8 He gave counsel that was followed by Dr. Roberts that led to
                          9 Dr. Roberts willfully failing to file tax returns for a series
                          10 of years.
   04-22-10   Sent. TR    (MR. O’REILLY ARGUMENT REGARDING TAX LOSS)
              301-302     21 THE COURT: Well, when -- when was this advice or
                          22 counsel given by Mr. Stilley to Dr. Roberts, vis-a-vis, the
                          23 years that the tax liability would have arisen?
                          24 MR. O'REILLY: Before, Your Honor. It was in 1990 or
                          25 1991, based on Dr. Roberts' testimony at trial. The tax years
                          301
                          1 that we're talking about for Dr. Roberts are --
                          2 If I could have Government's Exhibit 1177, page 2.
                          3 The tax years with respect to Dr. Roberts are 1992, 1993,
                          4 1994, and 1995; all tax losses occurring after receiving the
                          5 advice and counsel of Mr. Stilley.
   04-22-10   Sent. TR    (MR. O’REILLY ARGUMENT REGARDING TAX LOSS)
              302         6 With respect to Mr. Patterson. Together, Mr. Stilley and
                          7 Mr. Springer met with and spoke with Mr. Patterson, who was
                          8 already a non-filer. He had not filed since the mid to -- the
                          9 mid-1990s. That conduct is not attributable to the defendants;
                          10 they hadn't met him yet.




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   04-22-10   Sent. TR   (MR. O’REILLY ARGUMENT REGARDING TAX LOSS)
              304-305    18 THE COURT: So the government's position is that once
                         19 a tax liability becomes delinquent by virtue of the advice of a
                         20 defendant, once a third-party's tax liability becomes
                         21 delinquent, that perfects the tax loss, even though that tax
                         22 liability is ultimately satisfied?
                         23 MR. O'REILLY: If it becomes willfully delinquent,
                         24 Your Honor. For example, if Mr. Patterson had, you know, filed
                         25 an extension request in a letter saying, I have no money, I
                         304
                         1 will pay you as soon as I can, there was no evidence of willful
                         2 failure to file, that would be a different question.
   04-22-10   Sent. TR   (MR. O’REILLY ARGUMENT REGARDING TAX LOSS)
              305        7 If instead the situation -- if there was no evidence that
                         8 Mr. Patterson had willfully not filed his return and willfully
                         9 not paid, again, that would not be a tax loss, even if there
                         10 was a tax, because it -- it would be a criminal question. Just
                         11 the mere existence of a tax liability is not -- it's not the
                         12 government's position that the mere existence of a tax
                         13 liability by itself --
   04-22-10   Sent. TR   (MR. O’REILLY ARGUMENT REGARDING TAX LOSS)
              306        2 MR. O'REILLY: Absolutely, Your Honor. In fact,
                         3 under the guidelines, it speaks to that, that you cannot cure a
                         4 tax deficiency by a subsequent payment.
   04-22-10   Sent. TR   (MR. O’REILLY ARGUMENT REGARDING TAX LOSS)
              308        17 MR. O'REILLY: Your Honor, the tax loss with which we
                         18 have attributed Mr. Springer and Mr. Stilley as relates to
                         19 Mr. Lake is only for the year 2000, not his prior willful
                         20 failure to files.
   04-22-10   Sent. TR   (MR. O’REILLY ARGUMENT REGARDING TAX LOSS)
              309        6 THE COURT: Speaking of transcripts, has Mr. Lake's
                         7 trial testimony been transcribed?
                         8 MR. O'REILLY: No, Your Honor.




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   04-22-10   Sent. TR   (MR. O’REILLY ARGUMENT REGARDING TAX LOSS)
              310        13 MR. O'REILLY: But as was brought out both at trial
                         14 and here in the sentencing hearing, Mr. Turner sought to hide
                         15 that money and prevent the IRS from collecting on those taxes.
                         16 To that end, he borrowed -- he took mortgages against two
                         17 properties that he owed so that there would be no interest --
                         18 no equity interest for the IRS to be able to attach, and he
                         19 then took that money and put it where he thought -- he hid by
                         20 making it look like a payment to Mr. Stilley for legal
                         21 representation, and this was done at the encouragement and
                         22 urging of Mr. Springer.
                         23 It's just textbook evasion of payment. There was a tax
                         24 due and owing, and in an attempt to evade the payment of that
                         25 tax, Mr. Turner hid the money by borrowing against two houses
   04-22-10   Sent. TR   (MR. O’REILLY ARGUMENT REGARDING TAX LOSS)
              311        12 And as Mr. Turner testified, his understanding was that
                         13 they were going to keep it safe for him, that Mr. Springer was
                         14 going to keep this money safe, so that if he needed a lawyer --
                         15 because he was fearing that the IRS will come grab it -- that
                         16 it would be available for him.
   04-22-10   Sent. TR   (MR. O’REILLY ARGUMENT REGARDING TAX LOSS)
              312        7 THE COURT: Okay. Well, now, Mr. Springer says that
                         8 whatever might have been argued about the bona fides of that
                         9 transaction, based on the facts as they were, until earlier
                         10 this month, the bona fides are proved up by the repossession of
                         11 it, which shows that it was a bona fide lien and that it was
                         12 not a criminal source transaction at all, because the
                         13 repossession of it shows that it was intended to be just
                         14 exactly what Mr. Springer asserts that it was. What do you say
                         15 to that?
                         16 MR. O'REILLY: Your Honor, I think actually this is
                         17 the most recent act of the conspiracy. The IRS is attempting
                         18 to collect on the debt of the tax liabilities for '90 through
                         19 '95; to that extent, they have actually foreclosed on his house
                         20 and likely would have been seeking to seize the RV.
                         21 This -- the fact that this occurred did not -- no transfer
                         22 occurred until April of this year, two weeks ago, immediately
                         23 before the IRS is attempting to seize property to satisfy
                         24 Mr. Springer's tax liabilities. I think that's extremely
                         25 telling. ...




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   04-22-10   Sent. TR   (MR. O’REILLY ARGUMENT REGARDING TAX LOSS)
              313        3 THE COURT: Now, this is apropos of nothing, but does
                         4 Mr. Turner still have some tax liability?
                         5 MR. O'REILLY: Yes, he does, Your Honor. In fact, he
                         6 recently, as I believe was noted in the government's sentencing
                         7 memorandum, he recently lost in tax court, and who knows, he
                         8 may use this to help pay that.
   04-22-10   Sent. TR   (MR. O’REILLY ARGUMENT REGARDING TAX LOSS)
              318        6 MR. O'REILLY: Your Honor, actually, we do believe
                         7 this is a conspiracy to defraud the Internal Revenue Service.
                         8 At trial, the primary focus was directed at the tax liabilities
                         9 with respect to Mr. Springer.
                         10 In part, Mr. Stilley's tax liabilities received only
                         11 cursory mention because he's from Arkansas, there was no venue
                         12 here with respect to Mr. Stilley's tax obligations. He was not
                         13 charged in this district with his own tax evasion.
   04-22-10   Sent. TR   (MR. O’REILLY ARGUMENT REGARDING TAX LOSS)
              323-324    16 MR. O'REILLY: Yes, Your Honor. And our position is,
                         17 is that given the lack of any other available information that
                         18 the calculations made by Revenue Agent Miller are reasonably
                         19 accurate assessments of the tax against them and they're just
                         20 -- the records that Mr. Springer spoke of were solely of some
                         21 expenses, and as Mr. Miller indicated in his cross-examination,
                         22 I think he spoke specifically with respect to Mr. Stilley, but
                         23 I think it would apply to both, if we had all the information,
                         24 the net taxes would actually likely be higher. But this is
                         25 simply taking 20 percent of the gross income figure, which is
                         323
                         1 under the Sentencing Guidelines is where we need to be for
                         2 sentencing purposes, it's the best figure we've got. And
                         3 restitution is mandatory.
   04-22-10   Sent. TR   (MR. O’REILLY ARGUMENT REGARDING TAX LOSS)
              324        14 MR. O'REILLY: I believe the presentence
                         15 investigation report only referenced the defendants' own tax
                         16 losses. I think the Court could, but we are actually satisfied
                         17 with the presentence investigation report's recommendations,
                         18 Your Honor. We did not object to them, and -- which is
                         19 significant. That does not include the third-parties' tax
                         20 losses'.




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   04-22-10   Sent. TR    (MR. SPRINGER ARGUMENT REGARDING TAX LOSS)
              328 - 329   24 It was something that was quite unique when I sat down in
                          25 1999 with Mr. Roberts and Mr. Stilley. We never had a
                          328
                          1 conversation about whether Mr. Stilley files tax returns. And
                          2 I never heard Mr. Stilley tell Mr. Roberts he didn't have to
                          3 file tax returns. Never one time. If I had heard that, I
                          4 would have given the same response I've given every time, which
                          5 was they need to file those returns if they're earning gross
                          6 income. And it was almost like I made them angry every time I
                          7 said it. It wasn't something they wanted to hear.
   04-22-10   Sent. TR    (MR. SPRINGER ARGUMENT REGARDING TAX LOSS)
              339         ... But if I kept it, then I stole
                          8 it. If I let Mr. Turner come get it without my standing in his
                          9 way, committed an act of tax evasion, so says Mr. O'Reilly.
   04-22-10   Sent. TR    (MR. STILLEY ARGUMENT REGARDING TAX LOSS)
              353         20 Due process would not allow the Court to take a theory
                          21 that was raised for the first time at a sentencing hearing and
                          22 expand that and flesh that out in order to make findings of
                          23 losses with which to enhance or to drive a sentence on that
                          24 defendant.
   04-22-10   Sent. TR    (MR. STILLEY ARGUMENT REGARDING TAX LOSS)
              358         17 of that: There's the $250,000, and I think that the Court is
                          18 -- is fairly well-briefed on that, that the $250,000 does not
                          19 represent materially a depletion of the assets of Mr. Turner.
                          20 It's still available for the IRS. I think that that has been
                          21 adequately addressed.




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   04-22-10   Sent. TR   (MR. STILLEY ARGUMENT REGARDING TAX LOSS)
              359        12 I don't see how that any other count could work for this,
                         13 partly to attribute liability to Oscar Stilley, partly because
                         14 of the reasons that I have already briefed this Court, I think
                         15 it was December 9 of 2009, in my post-trial motion for judgment
                         16 as a matter of law and for new trial.
                         17 The law in Arkansas, it's undisputable that a lawyer who
                         18 is directed by his client to disburse money to another person
                         19 has to disburse the money. It's not an option. It is an
                         20 ethical violation. It is a tort of conversion. It is probably
                         21 a crime for a lawyer to refuse to give money to the person who
                         22 is entitled to the money promptly.
                         23 And, Your Honor, I would respectfully contend that trying
                         24 to hold a lawyer liable because they did something that the law
                         25 and ethical rules require, would be a very bad idea. It would
   04-22-10   Sent. TR   (MR. STILLEY ARGUMENT REGARDING TAX LOSS)
              360        1 set a new precedent. It would chill the activities of
                         2 attorneys. It would put attorneys in the place of deciding
                         3 which rule or which law do I break.
                         4 I've not heard any testimony from anyone to the effect
                         5 that Oscar Stilley had some other reasonable option and could
                         6 have followed that reasonable option but he did not.
                         7 And for that reason, I would respectfully submit that
                         8 Patrick Turner's taxes, which are still -- apparently still
                         9 being litigated or perhaps that litigation is closed, but there
                         10 was a good-faith effort on the part of the client to do what he
                         11 thought he had a legal right to do. There was no evidence that
                         12 Oscar Stilley, in his mind, had any evil knowledge or the basis
                         13 for doing anything differently or any basis for reporting the
                         14 client's conduct to any of the authorities.
                         15 We know, it's a well-established matter, that there's
                         16 attorney-client confidentiality. It would have to be a really
                         17 egregious thing that would even authorize an attorney to breach
                         18 his own client's confidentiality and go to some other authority
                         19 and tell that authority that the information gained in
                         20 confidence from that client.
                         21 Allowing the government to pile on with this and use this
                         22 as tax loss would be in conflict and inconsistent with very
                         23 important legal principles in our society.




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   04-22-10   Sent. TR   (MR. STILLEY ARGUMENT REGARDING TAX LOSS)
              363-364    21 I am forced to roam and try to figure out what they did.
                         22 And if I go down one path, then the government can get up here
                         23 afterwards and say, oh, he picked the wrong path, it's this
                         24 other path, and that is why Oscar Stilley should be held liable
                         25 or tagged with these amounts and that these should be claimed
                         363
                         1 as tax losses.
   04-22-10   Sent. TR   (MR. STILLEY ARGUMENT REGARDING TAX LOSS)
              364-365    21 And I would respectfully contend -- well, I've already
                         22 stated the reasons that the lawyer should not be punished for
                         23 doing something he didn't have any other opportunity to -- he
                         24 didn't have an opportunity to change or do differently, and it
                         25 -- there's no evidence in the record that I can see from which
                         364
                         1 a finding could be made that Oscar Stilley would have had any
                         2 knowledge about such a plan even if it did exist. And there
                         3 has to be some evidence.
                         (Discussion of Turner transaction)
   04-22-10   Sent. TR   (MR. STILLEY ARGUMENT REGARDING TAX LOSS)
              368        5 Oscar Stilley had a legal duty to do what he did and simply did
                         6 the job that he was required to do, and nobody stated any other
                         7 way that Oscar could have handled his affairs so that he would
                         8 escape this conduct or this enhancement.
   04-22-10   Sent. TR   (MR. STILLEY ARGUMENT REGARDING TAX LOSS)
              371-372    18 We simply don't have that. We cannot get there no matter
                         19 which choice is taken. There is an insurmountable hurdle for
                         20 the government no matter what road they go down.
                         21 I would respectfully contend that the reason the
                         22 government was not specific in their legal theories and their
                         23 factual basis is because they didn't want to pin themselves
                         24 down. They wanted to leave themselves open so that they could
                         25 put their witness on the stand and have him give a theory that
                         371
                         1 was totally inconsistent with matters stated previously.




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   04-22-10   Sent. TR   (MR. STILLEY ARGUMENT REGARDING TAX LOSS)
              379        14 MR. O'REILLY: Yes, Your Honor. And based upon
                         15 Dr. Roberts' testimony, it appears that he was also counseling
                         16 others. The fact that we only have Dr. Roberts as the one that
                         17 we have identified does not change the fact that it was part of
                         18 a common -- Mr. Stilley's common scheme. The fact that he
                         19 didn't join forces and conspire with Mr. Springer until 2000
                         20 does not change that fact.
                         21 THE COURT: Has Roberts' testimony been transcribed?
                         22 MR. O'REILLY: No, Your Honor.
                         23 THE COURT: Okay. I appreciate your answer to that
                         24 question.
   04-22-10   Sent. TR   (MR. STILLEY ARGUMENT REGARDING TAX LOSS)
              381-382    11 THE COURT: Do you take issue with Dr. Roberts'
                         12 testimony in this courtroom that you told him that he had no
                         13 obligation to pay income taxes or file returns?
                         14 MR. STILLEY: Your Honor, honestly, I would really
                         15 like to hear exactly what he said. Is that a possibility?
                         16 THE COURT: No. What I just told you is pretty
                         17 close.
                         18 MR. STILLEY: Well, Your Honor, I won't dispute what
                         19 he testified to from the stand. I didn't think that it was
                         20 simply fair, and that's why I was really hoping I could get a
                         21 copy of the transcript at this point in time, but --
                         22 THE COURT: We're past that. Both sides have had
                         23 ample opportunity to order a transcript.
                         24 Do you take issue with Dr. Roberts' testimony in which he
                         25 characterized you as quite gifted in legal and constitutional
                         381
                         1 issues?
                         2 MR. STILLEY: No, I don't contest that. I don't
                         3 recall if he said what his time frame was. As for today, I
                         4 would agree with him.




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   04-22-10   Sent. TR   (SENTENCING COLLOQUY)
              385        4 MR. STILLEY: With respect to the past two days, I
                         5 don't have objections with the following provisos: Just as
                         6 Mr. Springer, I continue to urge all objections during this
                         7 proceeding and to maintain all arguments made in pleadings
                         8 prior to this proceeding, and specifically, but without
                         9 limitation, I continue to urge the lack of adequate notice to
                         10 prepare for the charges that I would have to meet -- or the
                         11 issues that I would have to meet today on the basis of what was
                         12 given to me by the probation department and the government,
                         13 and, number three, I would continue to urge -- or to argue that
                         14 my ability to order a complete record in this case for these
                         15 proceedings is not meaningful because of lack of funds.
                         16 Other than that, I have no objection to the procedure of
                         17 these proceedings.
                         18 THE COURT: Very well. On that last point, I urge
                         19 you to waste no time after we're through tomorrow with getting
                         20 the -- preparing the necessary paperwork, perhaps with the aid
                         21 of your standby counsel, to obtain a transcript at public
                         22 expense.
   04-22-10   Sent. TR   (MR. STILLEY ARGUMENT REGARDING TAX LOSS)
              389        7 MR. SPRINGER: Yes, I have one request, Your Honor.
                         8 Is it the Court's intention to allow us to report once we're
                         9 sentenced? And if so or if not, would we be able to have an
                         10 appeal bond hearing tomorrow for the purposes of appeal?
                         11 I have, like, four cases that I just had to move all those
                         12 boxes, all the electronic media in all these cases, and I just
                         13 need to understand how I need to prepare all of that, and I
                         14 would need a little time to do that if the Court was not going
                         15 to allow an appeal bond.
                         16 THE COURT: I will hear you at the allocution stage
                         17 or even, if need be, thereafter on that score.
                         18 MR. SPRINGER: Thank you.
                         19 THE COURT: It is, again, subject to whatever you --
                         20 what you may have to say and what Mr. Stilley may have to say
                         21 and, for that matter, what the government may have to say. It
                         22 is likely that you will be remanded to custody tomorrow.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              399        8 With respect to Mr. Lake, I have reviewed the trial
                         9 testimony as taken by the reporter. The testimony of Mr. Lake
                         10 as it relates to Mr. Stilley is strong and convincing.


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   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              401-402    11 Criminal tax violations were Mr. Stilley's way of life,
                         12 starting before the earliest year of the tax losses relating to
                         13 Dr. Roberts. Criminal tax violations are Mr. Stilley's way of
                         14 life to this day. Early in his career as an unrepentant tax
                         15 cheat, Mr. Stilley began espousing the view, which he espoused
                         16 to Dr. Roberts, that Dr. Roberts had no obligation to pay
                         17 incomes taxes or to file a tax return.
                         18 Dr. Roberts' testimony at trial persuades me that he found
                         19 Mr. Stilley to be a convincing source of tax counsel. Advice
                         20 to an individual earning significant income that he is not
                         21 obligated to comply with the tax laws is certainly
                         22 counterintuitive to any reasonably intelligent person, but that
                         23 sort of advice can nevertheless be attractive to a person who,
                         24 although intelligent, is at the same time fool enough to let
                         25 his beliefs be dictated by financial convenience rather than
                         401
                         1 logic. This is especially so when the advice is coming from an
                         2 individual who expresses himself with the vehemence that
                         3 characterizes Mr. Stilley's expression of his professed beliefs
                         4 about the law.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              404        2 From Mr. Springer's perspective, it was fraudulent in two
                         3 ways. It was fraudulent in that by parking this money in
                         4 Mr. Stilley's IOLTA account, Mr. Springer's and Mr. Stilley's
                         5 intent was to obstruct the enforcement of the tax laws of the
                         6 United States as to Mr. Turner. This transaction was also
                         7 fraudulent in that the evidence convincingly demonstrated that
                         8 one way or the other, and contrary to Mr. Turner's intent,
                         9 Mr. Springer's intent was that Mr. Turner would never see that
                         10 $250,000 ever again.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              406-407    24 Mr. Stilley's situation is just about the purest and most
                         25 consistent example of non-reporting of substantial income that
                         406
                         1 could be imagined. And by saying that about Mr. Stilley, I
                         2 don't mean to put Mr. Springer in a favorable light, but,
                         3 nevertheless, the situation with respect to Mr. Springer is a
                         4 bit more complicated.




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   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              407-409    Here the District Court announces findings of tax loss amounts, with
                         respect to each Defendant.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              410        9 ....    And, in that regard, the indictment
                         10 clearly does not confine its allegations as to the objectives
                         11 of the conspiracy to simply a purpose of avoiding these
                         12 defendants' personal tax liabilities.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              411        ... I hesitate to make harsh findings without
                         20 very satisfactory evidence.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              412-413    25 -- I'm sorry, the transactions with Mr. Turner did generate
                         412
                         1 criminal source income. ...
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              414-415    19 The sophisticated means adjustment fits the facts of this
                         20 case as to both defendants quite well. The most obvious
                         21 example of that, but certainly not the only example of that, is
                         22 the using of Mr. Stilley's IOLTA account. Lawyers use their
                         23 trust accounts for the purpose of serving their clients. Those
                         24 trust accounts are treated as custodial accounts and in, I
                         25 venture to say, in every state, there are very detailed rules

                         414

                         1 that apply to the maintenance of lawyers' trust accounts, such
                         2 as Mr. Stilley's IOLTA account.
                         3 In this case, though, Mr. Stilley's IOLTA account was an
                         4 instrument of fraud pure and simple, and it was an instrument
                         5 of fraud pure and simple for the use and benefit both of
                         6 Mr. Stilley and of Mr. Springer. It was very effectively used
                         7 and it was used in a way that makes a mockery of the purposes
                         8 for which lawyers are authorized to maintain trust accounts.




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   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              424-425    It is fair to say, although
                         25 admittedly a bit harsh to say, that without his license to

                         424

                         1 practice law Mr. Stilley was worthless to Mr. Springer in
                         2 Mr. Springer's role as the charismatic and intellectual force
                         3 behind the joint criminal endeavors of these two defendants.
                         4 Mr. Stilley's status as a lawyer and his ability to hold
                         5 himself out at a criminal tax defense attorney furthered these
                         6 defendants' joint objective of committing tax fraud directly
                         7 and in counseling and advising their clients and significantly
                         8 facilitated the commission and concealment of these defendants'
                         9 offenses. This adjustment will be applied to Mr. Stilley.
                         (Discussion of the application of Guideline 3B1.3, abuse of
                         19 position of trust or special skill. )
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              425-426    19 This brings me to consideration of the proposed
                         20 application of Guideline 3C1.1 relating to obstruction of
                         21 justice. I listened very carefully to these defendants'
                         22 testimony at the trial, and I took careful notes. Mr. Stilley
                         23 testified under oath that no statute says that anyone is liable
                         24 for income tax. He testified under oath that no statute
                         25 defines income. Now, it might be tempting to think of these as
                         425
                         1 just ludicrous statements made for some theatrical effect, but
                         2 bear in mind that he was looking at a jury when he made those
                         3 statements under oath, and both defendants had placed their
                         4 intent and their willfulness squarely in issue. ...




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   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              426        9 He also said that the law -- under oath, looking at the
                         10 jury, that the law does not command anyone to file a tax
                         11 return. He also said, under oath, that Mr. Lindsey Springer
                         12 did not charge for or receive compensation for services
                         13 rendered. He also said, under oath, that he never allowed
                         14 Mr. Springer to use his, Mr. Stilley's, IOLTA account as a
                         15 parking place for money. He also said, under oath, that he and
                         16 Mr. Springer have never discussed attempting to defraud the
                         17 United States of income taxes. All of those statements were
                         18 material, they were made under oath, and they were
                         19 categorically false. They amounted to perjury. They certainly
                         20 did amount to obstruction of justice on Mr. Stilley's part.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              427        11 In addition, in March of 2006, Mr. Stilley told the grand
                         12 jury in writing that "Lindsey Springer does not charge for his
                         13 services." A statement that Mr. Stilley well knew was
                         14 absolutely false and highly material to the grand jury's
                         15 investigation. The defendants' testimony on these points was
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              427-429    Court’s rulings on objections to the PSR.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              430-431    Court’s findings as to Base Offense Levels and Total Offense Levels.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              431-433    Court’s findings as to restitution.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              433        Parties allowed to state objections.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              438        8 THE COURT: And I don't call upon you to do so here,
                         9 but I hope and trust that in your own time in your own way you
                         10 will apologize to your families.




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   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              441-442    19 MR. STILLEY: May it please the Court, counsel,
                         20 parties. I'd like to inquire about a procedural matter first
                         21 and that has to do with if incarceration results. I'd like to
                         22 find out if I am to be allowed access to my computer files and
                         23 hard files for the purposes of a -- of doing my appeal.
                         24 THE COURT: That's not a matter that I'm going to
                         25 address today. That will be, first of all, a matter between
                         441
                         1 you and the marshal and between you and the Bureau of Prisons.
                         2 If there are any difficulties that you wish to place before the
                         3 Court relating to your access to any materials, then you will
                         4 certainly have the opportunity to file a motion. If you can't
                         5 get access to a computer for the purpose of filing a motion,
                         6 then, as you're probably well aware, pro se litigants are
                         7 entitled to file pleadings in handwriting. In any event, that
                         8 aspect of your probable incarceration and your activities after
                         9 you are remanded is not a matter that I'm going to address
                         10 today.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              442        21 ... my primary consideration would be my ability to be
                         22 heard in a reasonable time and a reasonable manner with respect
                         23 to the process that I am due.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              443        Truly, I do love my family. I care for them. You
                         3 can see from the presentence report that my wife and I have two
                         4 biological children, small children, and we have two that we
                         5 adopted from Russia, we care very much about those. I
                         6 certainly care about those children and I intend to do the very
                         7 best by them that I can. The principal thing that I want to
                         8 make sure that I do for them right now is the absolute best
                         9 work that I can possibly do in defending my interests.
                         10 Your Honor, that's all the comments that I have to say.
                         11 Thank you, Judge.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              447        12 I don't think that there is any real possibility that
                         13 either one of these defendants will change their ways as a
                         14 result of incarceration. Incarceration and possibly supervised
                         15 release will essentially be an interruption, albeit a lengthy
                         16 interruption, in your criminal way of life.



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   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              448        3 As for the nature and circumstances of the offenses and
                         4 the history and characteristics of the defendants, I have tried
                         5 to find even a thin strand of truth or integrity to your
                         6 conduct or your way of life. It is not there. Not even a
                         7 speck. There is not even a plausible basis upon which you
                         8 might have deluded yourself into thinking that you are anything
                         9 but complete frauds and predators.
                         10 Your scams have cheated the United States. And that is a
                         11 serious matter in and of itself. But the United States can
                         12 print money. If anyone ever had any lingering doubt as to
                         13 whether you are frauds and predators, that doubt would be
                         14 removed by the fact that the two of you have also merciless
                         15 fleeced some very vulnerable people. You are predators, pure
                         16 and simple.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              449         ...... But in terms of your
                         9 overall culpability, Mr. Stilley, there is no daylight between
                         10 you and Mr. Springer, even though his advisory guideline range
                         11 is higher than yours is.
                         12 For that reason, taking into account all of the statutory
                         13 sentencing factors, including the advisory sentencing
                         14 guidelines, the sentence in your case will include an upward
                         15 variance from the guideline range. If I failed to do that in
                         16 your case, Mr. Stilley, your sentence would reflect a
                         17 completely unjustifiable and unwarranted sentencing disparity
                         18 as between you and Mr. Springer.
                         19 I must say, Mr. Stilley, that my evaluation of your
                         20 history and characteristics is also influenced by the fact that
                         21 you have, to a truly astonishing extent, used your license to
                         22 practice law as an instrument of fraud and a license to steal.




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   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              450        5 It is painful to think that you went as long as you did
                         6 before you were called to account by the disciplinary
                         7 proceedings in Arkansas. Mr. Stilley, you are not a lawyer in
                         8 any normal sense of that word. You are a thief with a law
                         9 degree.
                         10 One other matter should be mentioned before sentence is
                         11 imposed. Both of you are going to have some time, considerable
                         12 time to perfect your self-image as tax protestors who have been
                         13 persecuted and victimized by the Internal Revenue Service.
                         14 Before you get too far down that road, let me remind you that
                         15 you were indicted by a grand jury consisting of your fellow
                         16 citizens and not by the IRS. You were convicted by a trial
                         17 jury sitting in this courtroom consisting of your fellow
                         18 citizens and not by the IRS.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              451        15 THE COURT: Very well. The judgment and sentence in
                         16 this case will also state that the Court strongly recommends
                         17 that the Defendants Springer and Stilley not, in any event, be
                         18 designated to or incarcerated in the same institution.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              457-458    21 Oscar Amos Stilley. It is the order and judgment of the
                         22 Court that the Defendant Oscar Amos Stilley is hereby committed
                         23 to the custody of the Bureau of Prisons to be imprisoned for a
                         24 term of 180 months consisting of: 60 months on Count 1, 60
                         25 months on Count 3, and 60 months on Count 4, all such terms to
                         457
                         1 run consecutively, for a total sentence as to all counts of 180
                         2 months. And you deserve every day of it.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              460        24 As is the case with Mr. Springer, I urge you to move without
                         25 delay to secure a transcript of the record at public expense.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              461        13 THE COURT: You bet. I now inquire as to the
                         14 government's position with respect to remand.
                         15 MR. O'REILLY: Each defendant should be remanded,
                         16 Your Honor, under 3143.
                         (“Remand” means being immediately incarcerated.)




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   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              465-466    (Stilley speaking)
                         24 And I would also say that my principal concern, I think
                         25 reflected in the pleadings, is that I be heard in a reasonable
                         465
                         1 time and in a reasonable manner, which is the fundamental
                         2 essence of due process. I'm not persuaded that I can do that
                         3 reasonably in jail and certainly not to the level that I could
                         4 at home with all the computer, printers, and other things, the
                         5 Internet, that I would have access to.
                         6 And I would most respectfully request that I be allowed,
                         7 first, release pending appeal. If that's not done, that I be
                         8 given time to surrender that would extend past the preparation
                         9 and filing of the reply. And if that's not allowed, then
                         10 whatever the Court would grant as far as giving time to self-
                         11 surrender.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              466        14 THE COURT: On the matter initially raised by
                         15 Mr. Stilley, the above guideline sentence is as a result of a
                         16 variance and not a departure. The United States Supreme Court
                         17 has made it clear and in so doing effectively overruled the
                         18 Tenth Circuit's Atencio decision and has made clear that the
                         19 Court's application of the Section 3553 factors, even though it
                         20 may result in an above-guideline sentence, is a variance as to
                         21 which notice is not required, as distinguished from the notice
                         22 requirements that do apply to a guidelines departure. So that
                         23 objection is overruled.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              466-467    24 On the issue of remand, let me first say, gentlemen, that
                         25 I am fully cognizant of the seriousness of this question,
                         466
                         1 especially as it applies in your situation having invoked your
                         2 right, as you have, and it's an important right, to represent
                         3 yourselves. And I am fully cognizant of the fact that
                         4 incarceration may well have some impact on your ability to
                         5 proceed representing yourselves. To the extent that the Court
                         6 can within the bounds of the law and common sense ameliorate
                         7 that, then I will be happy to consider anything that the Court
                         8 might properly address in that regard.




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   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              467-468    25 That is not the case today. I am no longer satisfied,
                         467
                         1 much less by clear and convincing evidence, that the defendants
                         2 are not flight risks. We are now at a day on which the reality
                         3 of the defendants' situations has become more -- certainly more
                         4 unmistakably apparent and more unavoidable than it has been at
                         5 any stage of these proceedings.
                         6 I had to work hard, as I have said, to avoid remand at the
                         7 conclusion of the trial. I no longer have the comfort level,
                         8 as I have said, much less by clear and convincing evidence,
                         9 that the defendants are not flight risks at this point.
   04-23-10   Sent. TR   (COURT’S ANNOUNCEMENT OF SENTENCE)
              469        2 The defendants are both remanded to the custody of the
                         3 marshal to begin serving their sentences immediately.
                         4 Court will be in recess. And I will direct that the
                         5 exhibits be withdrawn. Court will be in recess.
   04-23-10   Dkt. 341   Springer’s receipt for the $455 appeal filing fee, day of sentencing.
   04-29-10   Dkt. 343   Springer’s motion for transcript at public expense, citing exactly no
                         authority in support. 343-1 is a very short, summary declaration in
                         support of the request.
   04-30-10   Dkt. 347   Government motion to Strike #345, Springer’s 48 page motion with
                         no table of contents or authorities.
   04-30-10   Dkt. 350   Government response agreeing to transcripts at public expense, citing
                         authority.
   04-30-10   Dkt. 351   Court order granting transcript at public expense.
   04-30-10   Dkt. 352   Court order striking 345 as violative of local rules, without
                         specifying which local rule.
   04-30-10   Dkt. 354   Springer motion for over-length brief - he cut out the background and
                         history to get down to 32 pages. Says he can’t do a table of contents
                         and authorities.
   05-03-10   Dkt. 356   Government opposition to Springer’s motion for over-length brief,
                         #354. They say the relief sought would significantly add to the
                         court’s burden in deciding the motion. They claim that incarceration
                         does not prevent tables of contents and authorities.




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   05-09-10   Dkt. 364    Springer motion to compel the delivery of mail to co-defendant Oscar
                          Stilley. David L. Moss Detention Center won’t deliver Springer’s
                          mail to Stilley, or vice versa.
   06-08-10   Dkt. 376    Court order denying 364 as moot.
                          (The motion sits unopposed for a month, then dismissed as moot
                          after the injury has been inflicted to the fullest degree.)
   08-17-10   Dkt. 418    Court order approving $91,771.56 out of Mr. Burton’s requested
                          $117,000.06. Nearly all of this was compensation for services.
   02-24-11   Dkt. 443    Stilley’s motion for reasonable access to the courts. Explained
                          efforts to exhaust remedies, obstructionism of the DOJ-FBOP
                          against that effort.
   03-14-11   Dkt. 444    Government response opposition to 443. Page 2 has an outline of
                          filings at the 10th Circuit.
   03-29-11   Dkt. 450    Stilley motion for extension of time to reply to Dkt. #444. [Dkt. 453
                          appears to be the same document, filemarked 4-15-11.
   04-18-11   Dkt 454     Stilley reply to #444. Stilley still working to get admin remedies.
                          (It is plain to see that this Trulincs document has about twice as much
                          text per page as a “legal” pleading prepared with a word processor.)
   04-20-11   Dkt. 455    Court order denying 443 on grounds of failure to exhaust remedies.
   10-26-11   Dkt. 460    10th Circuit Order and Judgment, by Lucero, Baldock, and
                          Tymkovich. Twenty four pages, entered for the Court, PER
                          CURIAM.
   12-6-11    Dkt. 461,   Mandate from the Clerk’s office for Springer litigation.
              462
   12-20-11   Dkt. 463    Mandate from the Clerk’s office for Oscar Stilley.

                               CONCLUSION OF TIMELINE




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